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EXHIBIT 1
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PRELIMINARY ASSESSMENT REPORT
CHAMBERS WORKS COMPLEX

Date: December 2006 Project No.: 507701
18984835

&

CORPORATE REMEDIATION GROUP
An Alliance between
DuPont and URS Diamond

Barley Mill Plaza, Building 19
Wilmington, Delaware 19805

 
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ACRONYM LIST

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Acronym List

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Acronym Explanation

ACO Administrative Consent Order

ACOE U.S. Army Corps of Engineers

AEC Atomic Energy Commission

AOC Area of concern

AST Aboveground storage tank

ASTM American Society for Testing and Materials
AWQC Ambient Water Quality Criteria

BEE Baseline Ecological Evaluation

CEAs Classification Exception Areas

CCLP Chambers Cogeneration Limited Partnership
CD Chlorobutadiene

CMC Carboxy methyl cellulose

COC Constituent of concern

COPECs Constituents of potential ecological concern
CRG DuPont Corporate Remediation Group

CSM Conceptual Site Model

DCB 1,2-dichlorobenzene

DERS DuPont Environmental Remediation Services
DMA Dimethylaniline

DGW Discharge to groundwater

DNAPL Dense nonaqueous-phase liquid

DOE Department of Energy

DPCC Discharge Prevention Containment and Countermeasures
EDD Electronic Data Deliverable

EHL Explosion Hazards Laboratory

EPA U.S. Environmental Protection Agency

FA Focus Area

FUSRAP Formerly Utilized Sites Remedial Action Program
GIS Geographical information system

GWIIA New Jersey Class IIA groundwater criteria
HPWDS Historical Process Water Ditch System
HSWA Hazardous and Solid Waste

IGW impact to Groundwater

IRM Interim Remedial Measure

ISM interim Stabilization Measure

ITRC Interstate Technology and Regulatory Council
IWS Interceptor Well System

LNAPL Light nonaqueous-phase liquid

MED Manhattan Engineer District

MFAC Motor fuel antiknock compound

MVA Monovinylacetylene

NAPL Nonaqueous-phase liquid

NCB Nitrochlorobenzene

NJDEP New Jersey Department of Environmental Protection
NRC U.S. National Research Council

NRDCSCC Non-residential Direct Contact Soil Cleanup Criteria

 

 

 

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Acronym List

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Acronym Explanation

NT Nitrotoluene

o-CNB ortho-chloronitrobenzene

ODCB ortho-dichlorobenzene

Orechem DuPont Organic Chemical Department
PAH Polycyclic Aromatic Hydrocarbon

PCB Polychlorinated Biphenyl

PCE Perchlorethylene

PCOC Potential constituent of concern

PNBA p-nitrobenzoic acid

PPE Personal protective equipment

PPL Priority pollutant list

PWDS Process Water Ditch System

RCRA Resource Conservation and Recovery Act
RDCSCC Residential Direct Contact Soil Cleanup Criteria
RECs Recognized environmental conditions
RFA RCRA Facility Assessment

RFI RCRA Facility Investigation

SVOC Semi-volatile organic compound
SWMU Solid waste management unit

TEL tetraethyl lead

UST Underground storage tank

VOC Volatile organic compound

WWTP Wastewater Treatment Plant

 

 

 

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Preliminary Assessment Report Executive Summary

EXECUTIVE SUMMARY

A Preliminary Assessment (PA) of the E.I. du Pont de Nemours and Company (DuPont)
Chambers Works Complex (the site), performed in accordance with New Jersey
regulations, has identified 11 areas of concern (AOCs) within the boundaries of the site
where additional investigation is recommended along with sediment sampling at
historical outfalls into surface-water bodies. The comprehensive evaluation of the 122-
year site history combined with existing environmental and hydrogeological data further
supports the conclusions of the previous conceptual site model whereby site related
constituents are effectively contained by the on-site interceptor well system and
prevented from migrating towards the surrounding communities’. Additionally, no AOCs
were identified on off-site properties previously owned by DuPont. Based on the results
of this Preliminary Assessment, no exposure to site-related constituents is indicated;
therefore, there are no unacceptable risk to human health or the environment.

The PA reported here encompasses the 1,455-acre DuPont Chambers Works Complex
located along the eastern bank of the Delaware River in Deepwater, New Jersey as well
as off-site properties previously owned by DuPont. The PA was performed in accordance
with N.J.A.C. 7.26E-3.1 and as part of the DuPont comprehensive program for long-term
remediation developed in conjunction with NJDEP, which was specified in the DuPont
letter to NJDEP dated July 1, 2005.

The purpose of a PA is to identify potential areas where contaminant sources are

© suspected. These suspected areas are considered AOCs. A PA is typically performed as
an initial phase of site investigation and prior to implementing any remedial actions.
However, DuPont has already completed four phases of the Resource Conservation and
Recovery Act (RCRA) Facility Investigation and completed numerous remedial actions.
Over the past 15 years, more than $150 million has been spent to investigate and
remediate areas of the site. Many of these projects were initiated by DuPont and were
facilitated by the cooperative working relationship with the NJDEP and the EPA.

The PA described herein was performed with the use of a Geographic Information
System (GIS) tool. The tool was presented to the NJDEP and EPA in August 2006 and
was a crucial evaluation tool for the PA. In order to enable a detailed analysis of the
abundance of information that characterizes the complex and extensive manufacturing
history of Chambers Works, DuPont invested in the development of a comprehensive
GIS and accompanying relational databases. The GIS includes digitized site plan maps
from 1919 through 2005, 17 aerial photographs between 1940 and 2002, infrastructure
features such as historical and current utilities, surface-water drainage, historical
shoreline, landfills, current solid waste management units (SWMUs), current and
historical outfalls, historical process wastewater ditches and historical internal building
trench locations, locations of public water supply wells, and numerous other geographic
and geologic information. The GIS is linked to an environmental analytical database and

 

' A small component of shallow groundwater flow toward the Delaware River exists along the western portion of
the Chambers Works complex. DuPont is currently conducting additional investigations to assess potential
migration of site-related constituents into the river.

 

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Preliminary Assessment Report Executive Summary

 

a process history database. The analytical database contains the results from more than
19,000 environmental samples collected at about 3,223 locations. The historical process
database is based on historical files that were reviewed by 12 retired Chambers Works
scientists. A total of 230 file drawers of detailed process/manufacturing data were
reviewed and entered electronically into the database. Both the analytical and process
history databases are linked to the GIS, which was then used to evaluate and integrate
analytical, spatial, and historical data to identify the potentially contaminated areas of
concern.

DuPont has committed to a long-term comprehensive remediation program that builds on
and integrates the current understanding of the Chambers Works site. The goal of this
program is to focus future remedial actions in order to achieve environmental results.
Development of the GIS tool, and its continued upgrade, will be used in a systematic
process of source identification, evaluation, and testing consistent with NJDEP and EPA
regulations.

As a result of the comprehensive evaluation of the Chambers Works Complex history as
well as the existing environmental data, the PA identified 11 AOCs, all of which were
located in the active Chambers Works manufacturing area. No off-site areas of concern in
the surrounding communities were identified through this comprehensive evaluation nor
was any expousre to site-related consituents indicated. The Chambers Works
manufacturing area was the center of research and development as well as manufacturing
of a wide range of products. Manufacturing and support buildings were constructed and
frequently converted to meet the needs of production. Previous investigations within this
area have indicated the presence of process-related constituents (primarily volatile
organic compounds and semi-volatile organic compounds) in soil and groundwater. The
PA identified additional suspected source areas for further evaluation.

Areas that warrant further investigation were also identified for the former Carneys Point
Works, located in the northern portion of the site. However, these areas were not
designated as AOCs. Further investigation of these areas will be conducted as part of the
ecological investigation for Carneys Point.

Most of the AOCs in the Chambers Works manufacturing area encompass large
manufacturing areas where particular products were produced and are relatively large in
area. Nine AOCs are between 20 and 80 acres. Ten of the AOCs are contiguous such that
nearly the entire southeastern portion of the site is defined by AOCs.

Although the identified AOCs are large in size, specific potential sources have been
identified, such as a known chemical release location or chemical loading/unloading
areas, for example. Suspected or known groundwater contamination was also used to aid
in defining AOCs. Groundwater may act as a source to downgradient groundwater and
potentially to the sediment and surface water in downgradient water bodies through
groundwater to surface-water pathways.

Sections of the former process wastewater ditch system are present in ten of the 11
AOCs. Although the majority of these earthen ditch sections have been remediated, there
is a potential that soil beneath the former ditches or dense nonaqueous-phase liquid
(DNAPL) may be present at depth and acting as a source to groundwater contamination
at some locations. High concentrations of SVOCs in some wells that are adjacent to and

 

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downgradient of ditch sections support this hypothesis. Given the irregular distribution of
ditches and the extensive network of process building trenches associated with the ditch
system, defining specific portions of ditches as individual AOCs is not possible at this

time.

The AOCs resulting from this comprehensive analysis are as follows:

oocododbdcoetb uso OQ

Qo

AOC 1: Fluoroproducts

AOC 2: TEL

AOC 3: Jackson Labs

AOC 4: Aramids

AOC 5: Historical Basin Footprint and Ditches
AOC 6: Dyes

AOC 7: Elastomers

AOC 8: Warehouse, Transport and Construction
AOC 9: Monastral

AOC 10: White Products

AOC 11: Former Drainage Ditch

DuPont recommends additional investigation within the AOCs, and the recommendations
are presented in this report. In general, recommendations were developed to meet the
following objectives:

oO

Evaluate B Aquifer groundwater quality downgradient of potential sources in
areas of the site where insufficient data exists. Assessing groundwater quality in
these areas will help to determine whether an area is (or was) a source to
groundwater.

Increase spatial characterization of B Aquifer hydraulic gradients near the site
perimeter to confirm hydraulic containment by the Interceptor Well System
(IWS).

Further refine understanding of potential groundwater to surface-water pathways
by installing additional perimeter monitoring wells.

Evaluate soils that may be acting as sources to groundwater by further
characterizing the distribution of elevated concentrations.

Evaluate sediment quality in the vicinity of historical process wastewater outfalls
along the Delaware River and Salem Canal.

Further evaluate soil, sediment and surface water quality in Carneys Point as part
of the Ecological Risk Assessment for Carneys Point.

Refine the location/boundaries of several SWMUs based on review of more
accurate aerial photographs and GIS data.

 

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Details regarding the recommended investigations, such as the location and number of ©
wells, and the sampling methodologies, will be provided in subsequent work plans
following agency review of this PA.

 

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Preliminary Assessment Report Introduction

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INTRODUCTION

This Preliminary Assessment Report (PAR) presents the results of the Preliminary
Assessment (PA) completed for the E.I. du Pont de Nemours and Company (DuPont)
Chambers Works Complex (the site), made up of the Chambers Works manufacturing
area and the former Carneys Point Works, in Deepwater, New Jersey. This PA was
conducted in accordance with N.J.A.C. 7:26E-3.1 and reported herein in accordance with
N.J.A.C. 7:26E3.2.

Regulatory Background

The Chambers Works Complex has completed four phases of Resource Conservation and
Recovery Act (RCRA) Facility Investigation (RFI) under the direction of the U.S.
Environmental Protection Agency (EPA) and the New Jersey Department of
Environmental Protection (NJDEP). The RFI at the site has been phased to evaluate and
prioritize solid waste management units (SWMUs) within the site, so that remedial
actions can be focused on SWMUs that may potentially present a greater risk to human
health or the environment. The phased approach enabled three overlapping sets of
objectives to be addressed:

O Achieve site stabilization.
QO Advance the site through the RCRA Corrective Action Process.

Q) Address high priority SWMUs on an accelerated schedule, outside of the phased,
RFI process.

At the request of NJDEP, DuPont developed a comprehensive program for long-term
remediation at the site and for addressing the potential discharge of contaminated
groundwater and surface water to the Delaware River and its tributaries. The overall
approach proposed for long-term remediation was to identify significant sources to
groundwater and surface water and to evaluate the feasibility of remediating those
significant sources. The July 1, 2005 letter to NJDEP included a comprehensive schedule
that entailed both long-term and short-term projects. Optimization of groundwater
recovery and enhanced groundwater monitoring were also presented in this
comprehensive program.

DuPont has completed the first step of this comprehensive program. A geographical
information system (GIS) based conceptual site model (CSM) was developed; this model
integrates information on the site operational history, physical site features, existing CSM
information, and existing environmental data. At the completion of the GIS database
development, a presentation on the potential applications of this tool was demonstrated to
NJDEP and EPA on August 16, 2006.

The GIS database was then used in the identification of potential source areas for the
entire 1455 acres at the site. The initial source characterization efforts focused on the
identification of data gaps along the perimeter of the site as well as internal
manufacturing and waste management areas. Corrective Measures Studies of the
currently identified SWMUs were also integrated into this long-term remediation

 

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Preliminary Assessment Report Introduction

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program. In discussions with NJDEP, it was agreed that the results of the CSM would be
provided in a PAR.

Purpose of the Preliminary Assessment

As stated in N.J.A.C. 7.26E-3.1(a), the purpose of the PA is to identify the presence of
any potentially contaminated areas of concern. The comprehensive GIS-based CSM
compiled extensive information and allowed the integration of various site-specific
data/information including site infrastructure, process history, natural physical features,
subsurface geology, hydrogeology, and environmental analytical data. Using the GIS tool
enhanced the ability to identify source areas, migration pathways, and data gaps.

This PAR also summarizes the GIS tool created for the site. The revised CSM is
presented on a site-wide scale as well as by specific area. Potentially contaminated areas
of concern were identified. This report presents the findings of the preliminary
assessment and, for areas of the site where data gaps were identified, recommendations
for filling those data gaps are provided.

Report Organization

This PAR addresses the entire Chambers Works Complex, including several off-site
locations that are no longer owned by DuPont. The report is broken down into the
following sections:

O Sections 1 through 3 provide background, history, and details about the approach
and methodology used for the PA.

& Section 4 describes the site-wide evaluation.

Q Sections 5 through 20 each describe a focus area (FA). The site was broken down
into 16 FAs to facilitate the evaluation of the site. FAs are further discussed in
Section 3.

Q Section 21 presents the conclusions and recommendations.
QO Section 22 contains the references cited in this report.
This report contains the following appendices:

Q The first three appendices contain general information — EDR reports, a DuPont
document list of all remedial investigations conducted at the Chambers Works
site, and additional site history and regulatory background.

Q Appendix D contains supplemental information about the site-wide evaluation.
This appendix includes aerial photographs and a CD containing Adobe Acrobat
pdf files. Each file contains tables specific to a focus area. The naming convention
for these tables begins with a code designating the focus area (e.g., “WP” stands
for “White Products”). Data included in these tables were previously presented to
NJDEP in the relevant reports. Due to the number of tables, electronic submission
was necessary to reduce the overall size of this PAR.

 

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© Q Appendices E through T each describe supplemental information for a FA,
including the aerial review for each focus area.

Q Appendix U contains a CD with soil management data.

 

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Preliminary Assessment Report Site Background and History

 

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2.1

SITE BACKGROUND AND HISTORY

The 1,455-acre DuPont Chambers Works Complex (the site), made up of the Chambers
Works manufacturing area and the former Carneys Point Works, is located along the
eastern shore of the Delaware River in Deepwater, New Jersey (see Figure 2-1). The
Carneys Point Works operated from 1892 to 1979 and produced smokeless gunpowder,
nitrocellulose, and related products. The Chambers Works manufacturing area began
producing dye in 1917 and gradually expanded as other product lines were added
including Performance Chemicals, aramids, fluorochemicals, motor fuel antiknocks, and
polymers. As a result of nearly 120 years of continuous industrial activity, Chambers
Works is a complicated site. Historically, the Chambers Works Complex has been
involved in the development of roughly 1,200 chemical products.

The site is located along the eastern bank of the Delaware River adjacent to the Delaware
Memorial Bridge in Deepwater, New Jersey. The site extends approximately 2.7 miles
between Helms Cove to the north and the Salem Canal area to the south.

The site is located in a moderately populated area consisting of light to heavy industry,
recreational areas, community-service areas, and residential neighborhoods. Situated
south of the site is the Conectiv (formerly Atlantic Electric) Power Plant. East of the site
are light industrial, residential, and recreational areas. North of the site lies community
service and residential areas. The Delaware River is to the west of the site.

The site lies within the Lowland Subprovince of the Atlantic Coastal Plain physiographic
province (Barksdale, et al., 1958). The surrounding topography is gently rolling, with
elevations ranging from sea level to 85 feet National Geodetic Vertical Datum (NGVD;
1929). Elevations at the site are typically within 10 feet above sea level.

In the 1960s, groundwater contamination was identified. In response, DuPont installed an
interceptor well system (IWS) in 1970. The IWS was designed to collect potentially
impacted groundwater and to restrict the off-site migration of groundwater for the
protection of human health and the environment. The IWS has operated continuously
since 1970, and has been optimized and mechanically upgraded to provide current
extraction of more than 1.5 million gallons per day.

General Site History

As per requirements of a PAR as outlined in N.J.A.C. 7:26E-3.1 (c)(1)(ii)(4), the
following paragraphs include a brief description of the past industrial usage of the
Chamber Works Complex by DuPont. More detailed process and manufacturing history
are presented in Sections 5 through 20 and in Appendix C.

The Chambers Works Complex traces its origins to 1892 when Carneys Point smokeless
gunpowder plant was constructed at the northern end of Carneys Point. By 1914,
gunpowder-manufacturing operations had extended south into what is currently the
Chambers Works manufacturing area. The Carneys Point Works was operational from
1892 to the mid-1970s, producing nitrocellulose, smokeless gunpowder, and other
products. In 1917, dye and specialty chemical manufacturing began at what was then

 

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Preliminary Assessment Report Site Background and History

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called the Dye Works (currently Chambers Works manufacturing area). Refrigerant
(Kinetic or Freon®) and tetraethyl lead (TEL) production began in the 1920s, followed
by aromatic chemical manufacturing in the 1940s. By the 1960s, Chambers Works began
elastomers production.

As chemical manufacturing areas expanded, low-lying areas were filled in with river
dredgings and other fill material to form a foundation for further development. By the
late 1970s and early 1980s, the explosive and dye manufacturing divisions were
discontinued, leaving only chemical manufacturing. Most of the Carneys Point buildings
were razed by 1979, leaving behind only building foundations.

Historically, the Chambers Works Complex has been involved in the development of
more than approximately 1,200 chemical products. The following is a list of some of the
major manufacturing areas, past and present, and some of their associated process
chemicals (DuPont, 1998).

Carneys Point Powder Plants

The plants operated from 1892 to 1979 and consisted of Plants 1, 2, 3, and 4 in the early
1900s. The plants produced nitrocellulose and gunpowder. The materials involved in
production included ether, amines, plasticizers, nitrotoluenes, nitroglycerin salts, nitric
acid, and sulfuric acid. Off-quality nitrocellulose was the primary waste from this area.

Dye Works Plant (Chambers Works Manufacturing Area)

Dye production operated between 1917 and the early 1980s producing more than 700
different dyes:

Q Dye Manufacturing: This manufacturing division consisted of the following seven
areas, each producing sludges and nitrobenzene wastes:

e Azo Colors: This manufacturing division used organic mercury, amino
constituents, benzene, phenols, acids, aniline, toluidine, sulfur, and
naphthalene.

e Basic Colors: Chemically, the products for this manufacturing division
included primarily basic and acid dyes of the triarylmethane series and azine
series.

e Sulfur Colors: This manufacturing division used sulfur and sodium sulfides;
sulfur black was the first dye produced at the Dye Works, starting in 1917.

e Ponsol®:This manufacturing division used sodium hydroxide, sodium
hydrosulfide, aluminum chloride, and sulfuric acid.

e Monastral® Colors: This manufacturing division used blue and green
pigments. The manufacturing operations were a section of the Ponsol® area
organization and used similar chemicals.

e White Products: This manufacturing division involved the use of aromatic
hydrocarbons, chlorinated aromatics, polymers, elastomers, fibers, and
anilines.

QO Indigo Heavy Chemicals Area: This area began operation in 1917, producing
indigo dye, sulfuric acid, and chlorine. Other chemicals associated with this area

 

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Preliminary Assessment Report Site Background and History

 

included sodium hydroxide, hydrochloric acid, ammonia, sodium, sulfur, benzene,
nitrobenzene, nitrotoluene, chlorobenzene (CB), methylamines, and ethyl
chloride.

Q Fluorochemicals Production Area: This area produces Freon® products. It began
operations in the 1920s and manufactured fluorinated hydrocarbons from
hydrofluoric acid, sulfuric acid, hydrochloric acid, carbon tetrachloride,
fluorospar (solid), antimony, pentachloride catalyst, and perchloroethylene (PCE).
DuPont has phased out chlorofluorocarbon (CFC) production and replaced it with
the SUVA® product line, which includes hydrochlorofluorocarbons (HCFCs) and
hydrofluorocarbons (HFCs).

Q Motor Fuel Antiknock Production Area: This area produced motor fuel antiknock
compound (MFAC), which contained tetrethyllead (TEL) and tetramethyl lead
from sodium, ethylene, methanol, methyl chloride, and ethyl chloride. The lead
alkyls are the primary waste from this area. TEL production began in the 1920s
and was discontinued in the spring of 1991.

Q Petroleum Chemicals: This manufacturing area produces oil additives. Organic
amines and methacrylate polymers are made in this area.

Q Polymer Products Manufacturing Area: This area produces Hylene®, Hytrel ®,
plastics, and Viton® elastomers using organic isocyanates, phosgene,
dinitrotoluene, and hydrochloric acid.

Q Aromatics and Specialty Chemicals: This manufacturing area began production in
the 1940s and is still one of the primary manufacturing areas. Materials involved
in this area include petroleum hydrocarbons, acids, solvents, inorganic
constituents, and aromatic hydrocarbons.

2.1.3 Property History

Per N.J.A.C. 7:26E-3.1(1)Gi) (1) through (3), the PAR must include without limitation
the names of all the owners and operators, as well as dates of ownership and dates of
operation of each operator from the time that the site was naturally vegetated. The
following section contains a general summary of the property history associated with the
Chambers Works Complex. Property history details are provided in Appendix D. This
appendix contains the DuPont Chambers Works real estate inventory map (#2506) and
identifies all conveyances, easements, or agreements associated with the property from
1915 to present. Property history before 1915 is documented in DuPont Chambers Works
History 1891-1958, dated 1978. Individual focus area history sections describe in more
detail whether additional operators are/were operating at the site.

From 1685 to 1891 the area currently identified as the Chambers Works Complex was
used for farming or was unused wetlands or tidal marshes. There is no information on the
types of agricultural operations that were conducted in the area. On July 19, 1891 The
DuPont Powder Company purchased the Thomas Carney farm and constructed the
Carneys Point Works. DuPont purchased additional parcels of adjacent land as the
Carneys Point Works expanded between 1891 and 1915. These additional parcels were

 

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Preliminary Assessment Report Site Background and History

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consolidated into the contiguous Carneys Point Works that extended from Helm’s Cove
to Salem Canal.

From 1915 to 1918 portions of the Carneys Point Works in Deepwater Point were
conveyed from the DuPont Powder Company to the DuPont Chemical Company for the
construction of the Deepwater Dye Works. Between 1917 and 1927, additional parcels
were purchased by the DuPont Chemical Company as the Deepwater Dye Works
expanded. These additional parcels included a residential community along the Delaware
River north of the Salem Canal known as Fenton’s Beach.

From 1927 to present, the contiguous property identified as the Chambers Works
Complex has been owned and operated by DuPont. There is no operational information
available concerning previous agricultural or residential land use activities prior to the
DuPont purchase of individual properties.

Current Conditions and Manufacturing

Approximately 650 acres of the Chambers Works Complex are currently developed. The
Chambers Works Complex produces approximately 600 products using about 1,500
processes in 44 manufacturing buildings. The manufacturing areas at Chambers Works
currently include the following:

QO Organic intermediates and aromatics
Petroleum chemicals
Fluorochemicals

Polymers and elastomers

Specialty chemicals

The RCRA-permitted secure landfill, also known as the Secure C Landfill, which
is located north of Henby Creek and the wastewater treatment plant (WWTP).

Cooocek oOo

oO

An electric cogeneration facility and gas production facilities run by third parties,
which are located within the Chambers Works Complex

Manufacturing History

The general manufacturing history at the site is described in Appendix C. Details about
specific process histories are described in each focus area section, as needed.

RCRA Corrective Action Regulatory Background

The Chambers Works Complex is subject to a variety of federal and state environmental
regulations. The Chambers Works RCRA corrective action program is under the
jurisdiction of the United States Environmental Protection Agency (EPA) as a result of
the 1984 Hazardous and Solid Waste Amendments (HSWA). A chronological list of
major documents and permits related to the corrective action program are summarized
below.

 

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Preliminary Assessment Report Site Background and History

 

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2.4.4

Administrative Consent Order, 1984

A New Jersey Department of Environmental Protection (NJDEP) Administrative Consent
Order (ACO) was issued in 1984 and later amended in 1988. This ACO required DuPont
to implement remedial action at the A, B, and C Basins and the Process Water Ditch
System (PWDS), which are SWMUs 14, 15, 16, and 17, respectively. These SWMUs
were investigated, remediated, and closed in accordance with the NIDEP ACO, New
Jersey Pollution Discharge Elimination System-Discharge to Groundwater (NJPDES-
DGW) permit, and approved closure plans. The Remedial Action Report for the C Basin
closure was approved by the NJDEP on October 10, 1995. The Remedial Action Report
for the A/B Basin closure (except for the A Basin vault ) was approved by the NJDEP on
June 26, 1997. The Remedial Action Report for the PWDS was approved by the NJDEP
on December 2, 1997. The A Basin vault received material from the SWMU 56 (ODCB
in B Ditch) Interim Stabilization Measure (ISM), the SWMU 5 ISM and material from
the SWMU 52 ISM. The A Basin vault was closed in October 2006. A closure report will
be submitted to NJDEP in 2007.

Hazardous and Solid Waste Amendments Permit, 1988

The EPA issued a HSWA permit (No. NJ002385730) to Chambers Works effective
November 7, 1988. The HSWA permit requires DuPont to determine the nature, extent,
and migration rate of hazardous waste and/or hazardous constituents in soil, groundwater,
surface water, subsurface gas, and/or air at any SWMU regardless of the time that the
waste was placed in the unit, and to develop corrective action for any releases as
appropriate.

Draft RFI Work Plan, 1989

A Draft RFI Work Plan was submitted to the EPA and NJDEP in 1989. The work plan
was not implemented. In a July 1992 meeting with the EPA, a decision was made that the
proposed work plan was out of date and that DuPont would submit a Current Conditions
Report to provide an update of site activities since the Draft RFI Work Plan had been
submitted.

Current Conditions Report, 1992

DuPont submitted a Current Conditions Report to the EPA dated December 18, 1992.
The primary purpose of this report was to summarize the existing data on the SWMUs
and to present additional environmental information collected at the site since 1989 when
the Draft RFI Work Plan was submitted.

DuPont received comments on the Current Conditions Report from the EPA and NJDEP
on March 25, 1993. Included in the EPA review was a request for a new Phase I RFI
Work Plan.

 

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Preliminary Assessment Report Site Background and History

 

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HSWA Permit Renewal Application, 1993

On May 7, 1993, DuPont submitted an application to the EPA for renewing the Chambers
Works HSWA permit, six months prior to the November 7, 1993, expiration date of the
existing permit. The Regional Administrator has not issued a new HSWA permit.
Therefore, in accordance with 40 CRF 270.51, the 1988 HSWA permit remains in effect
until a new permit is issued.

Phase | RFI, 1993-1995

DuPont prepared a Phase I (June 1993) and Phase IA (August 1993) RFI Work Plan,
which EPA conditionally approved in December 1993. The Phase I RFI was
implemented in 1994 and 1995.

DuPont submitted the results of the Phase I] RFI in a May 1995 report. The Phase I RFI
Report recommended the following activities for the Phase II RFT:

Q Groundwater sampling to be more focused on the deeper aquifers

Q Dense non-aqueous phase liquids (DNAPL) investigation focused in areas of
potential migration as identified in the Phase I Investigation

QO Investigation of twelve SWMUs

Phase II RFI, 1996-1998

DuPont prepared a Phase IT RFI Work Plan (May 1996) and a Revised Phase II RFI
Work Plan (November 1996). EPA and NJDEP approved the Revised Phase II Work Plan
in 1997. The Phase II RFI was implemented in 1997 and 1998.

DuPont submitted the results of the Phase II RFI in the October 1998 report. The Phase II
RFI report recommended the following activities for the Phase [II RFT:

Q B Aquifer Tidal Study
Continue investigation at three SWMUs
Characterization of five SWMUs

Phase Ili RFI, 2000-2002

DuPont prepared a Phase ITI RFI Work Plan (April 2000) and submitted subsequent
correspondence addressing Agency comments. EPA and NJDEP approved the Phase III
Work Plan in April 2001. The Phase III RFI was implemented from May through
September 2001.

DuPont submitted the results of the Phase [II RFI in the April 2002 report. The Phase III
RFI report recommended the following activities:

QO Provide additional investigation of four SWMUs.
Q Conduct ISMs at three SWMUs.

 

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SWMU 8, 2003-2004

DuPont prepared two work plans for the 2003 Test Pit activities and for the 2004
Remedial Investigation (RJ) activities and submitted subsequent correspondence
addressing agency comments. The EPA and NJDEP approved both work plans. The
SWMU 8 RI activities were implemented from May to September 2004. DuPont
submitted the results of the field activities in a report dated February 15, 2005.

Environmental Indicator CA725, June 2004

In June 2004 EPA determined that Chambers Works met the Government Performance
and Results Act criteria of Environmental Indicator CA 725, current human exposures
under control.

SWMU 52, July 2004

DuPont prepared a Remedial Action Selection Report (RASR) for proposed Interim
Stabilization Measures (ISM) at SWMU 52 and implemented stabilization activities
starting in the summer of 2006. A more detailed description of the SWMU 52 activities to
date is provided in the Carneys Point FA (see Section 20).

Environmental Indicator CA750, September 2004

In September 2004 EPA determined that Chambers Works met the Government
Performance and Results Act criteria of Environmental Indicator CA750, migration of
contaminated groundwater under control.

Phase IV RFI Phase IV RFI and Phase IV RFI Supplemental

A Phase IV RFI RCRA Report was submitted to the EPA and NJDEP on April 22, 2005.
The report consisted of three sections: investigation of five individual SWMUs, a
baseline ecological evaluation (BEE), and an E Aquifer hydrostratigraphic study. The
report recommended some additional delineation and evaluation for specific SWMUs,
which is currently being completed under the Phase IV RFI Supplemental Work Plan. A
report of findings will be submitted to the agencies in the first half of 2007.

The results of the BEE indicated that additional ecological investigation was necessary.
With agreement from NJDEP, the BEE report was separated from the Phase IV RFI
documentation and will follow its own timeline for completion. A revised independent
BEE was submitted to the NJDEP in September 2006. An ecological investigation work
plan will be delivered to the NJDEP in the 1 quarter 2007.

The overall key conclusion of the E Aquifer hydrostratigraphic study was that the E
Aquifer appears to be impacted only where leaky well casings allow downward
migration. Select E Aquifer wells were abandoned in 2006 with concurrence with
NJDEP, and information concerning these abandonments will be submitted as part of the
Phase IV RFI Supplemental Report.

 

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2.6.1

Environmental Permits

In accord with NJDEP Technical Regulations N.J.A.C. 7:26E-3.1(c)(4) (xii), all federal,
state, and local environmental permits (including permits for all previous and current
owners or operators, applied or received, or both) for the site need to be identified. The
Chambers Works Complex is subject to a variety of federal and state environmental
regulations and permits, and during various remedial activities, numerous permits have
been received. The specific permits for remedial actions will not be listed; instead the
reader is referred to the existing remedial reports for details. The site-wide permits that
are currently in effect are as follows:

Q Hazardous and Solid Waste Amendment (HSWA) Permit
Secure C Landfill Permits

NJPDES-Discharge to Groundwater Permits
NJPDES-Discharge to Surface Water Permit

Water Allocation Permit

NJDEP Title V Operating Permit

Q Other Environmental Permits

CoOocceg oOo

For details about each permit, see Appendix C.

Regulatory Background on the RCRA Remedial Facility
Investigation Process under the HSWA Permit

In accordance with the N.J.A.C 7:26E-3.1(c)(4)(ix), the PAR must list all remedies
previously approved by NJDEP in a remedial action work plan. DuPont maintains
stabilization of the site both by interim stabilization measures (ISMs) and operation of the
IWS. ISMs have been implemented at SWMU 5 and SWMU 43, SWMU 52, SWMU 56
(Aramids Pond), SWMU 56A, and SWMU 45-9 (footprint of proposed Landfill D).
DuPont also has implemented a site-wide non-aqueous phase liquid (NAPL) study and
recovery program to address recoverable amounts of NAPL when detected. More details
concerning the current site strategy are provided below.

SWMU Investigation Status

According to the EPA May 1994 RCRA Corrective Action Plan (Final), the objective of
a corrective action program is to “evaluate the nature and extent of the releases of
hazardous waste or constituents; to evaluate facility characteristics; and to identify,
develop, and implement an appropriate corrective measure or measures to protect human
health and the environment.”

The Corrective Action Plan further states:

While final cleanup remains the long-term goal of the corrective action program,
the RCRA Implementation Study (RIS) recommended more frequent use, where
appropriate, of interim/stabilization measures in early stages or corrective action

 

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2.6.2

to achieve near term environmental protection at facilities with the most serious
problems. This approach, which may also be appropriate during later phases of
the process, emphasizes controlling sites by stabilizing identified releases to
prevent the further spread of contamination and degradation of the environment.”

The DuPont Chambers Works corrective action process during Phases I through IV RFI
has focused on characterizing and stabilizing the site with the emphasis on the site
perimeter. The RFI process at Chambers Works has been phased to evaluate and
prioritize SWMUs within the site, so that remedial actions can be focused on SWMUs
that may potentially present a greater risk to human health or the environment (see Table
2-1 and Figure 2-2). The phased approach enabled three overlapping sets of objectives to
be addressed:

QO Achieve site stabilization.
O Advance the site through the RCRA Corrective Action Process.

QO Address high priority SWMUs on an accelerated schedule, outside of the phased
RFI process.

Overall, the site strategy is to achieve stabilization of the site such that there are no
unacceptable risks to human health or the environment. Stabilization is achieved when all
the potential exposure routes for site constituents are controlled or remediated. Future
work at Chambers Works under RCRA will start with the development of corrective
measure studies in support of remedial alternative evaluations and selection starting with
the SWMUs with the greatest potential impact to groundwater (e.g., SWMU 8).

interceptor Well System

DuPont maintains stabilization of the site groundwater through the use of the IWS and
the implementation of ISMs. The IWS is the primary method of maintaining site
stabilization at Chambers Works. It consists of three primary and three backup recovery
wells and is operated in accordance with NJPDES-DGW Permit No. NJ0083429.
Currently, the [WS consists of six wells at the interior of the site to recover groundwater
from the C and D Aquifers (see Figure 2-3). The IWS has operated since 1970 and is
currently pumping and treating a monthly daily average minimum of 1.5 million gallons
per day (1.5 mgd) of groundwater to achieve control. Potentiometric contour maps,
supplemented with modeling, have demonstrated that all of the impacted groundwater at
Chambers Works is contained by the IWS in the C, D, and E Aquifers. Additional
modeling has shown that the small percentage of impacted groundwater in the B Aquifer
that migrates off-site does not pose an unacceptable risk to human health and the
environment (DuPont, 2004).

DuPont will continue to use the IWS to maintain stabilization. Previously, DuPont
concluded that additional steps could be taken to improve the groundwater quality at the
site. Specifically, potential areas are being evaluated where additional sources to
groundwater — in addition to the DNAPL recovery program — may be remediated. DuPont
also is evaluating ways in which groundwater pumping may be reduced to better manage
groundwater resources, while still maintaining containment of affected groundwater.

 

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©} DuPont expects to submit a groundwater modeling and evaluation report to the NJDEP in
mid 2007.

Contamination of groundwater in the surficial aquifers at the Chambers Works Complex
has been recognized for some time. Under various regulatory programs, DuPont has been
working with the NJDEP and the EPA to identify sources of contamination, implement
corrective actions where needed, and improve or replace systems that cause or could
cause releases to groundwater. The Current Conditions Report (DuPont, 1992) and the
Phase II RCRA Facility Investigation Report (DuPont, 1998), Phase III and Phase IV RFI
provide detailed descriptions of the ongoing investigations of potential sources of
contamination and the current groundwater quality across the site.

As mentioned, the IWS currently includes six recovery wells in the central area of the site
that withdraw an average minimum of 1.5 million gallons per day. The removal of this
groundwater induces flow gradients toward the interior of the site and, consequently,
helps ensure that groundwater in the underlying B, C, and D Aquifers does not leave the
site. Groundwater elevations are monitored semi-annually in over 300 wells, and
groundwater elevation contour maps are created from the resulting data.

Well measurement data have documented the zones of influence of the IWS wells (cones
of depression). The design of the system requires continual refinement as additional
information about the hydraulic properties of the subsurface materials is developed and as
the activities in various areas of the site change. These data are used to evaluate the
effectiveness of site-wide groundwater containment and are presented in semiannual
summary status reports on April 30 and October 31 of each year. The reports are

© submitted in accordance with Part IV.F of the NIPDES-DGW Permit No. NJ0083429 and
provide results of groundwater monitoring programs and the status of corrective action
programs.

2.6.3 Classification Exception Areas

Pursuant to the February 1, 1993, Groundwater-Quality Standards (N.J.A.C. 7:9-6 et
seq.), the NJDEP has designated two classification exception areas (CEAs) for the
groundwater beneath the Chambers Works Complex in Pennsville and Carneys Point
Townships (see Figure 2-4). The Department based this decision on the following:

Q The groundwater at the site is hydraulically controlled by groundwater recovery
systems necessary for the protection of human health and the environment.

Q DuPont signed an Administrative Consent Order with the Department in which
DuPont committed to remediating the RCRA land disposal units at the site.

Q DuPont is complying with their EPA Hazardous and Solid Waste Management
Permit, which requires DuPont to identify and reduce the sources of
contamination on-site.

Q Use of the property for industrial purposes is expected to continue in the future.

Q The constituent standards have been exceeded for a number of constituents at the
site.

 

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A Classification Exception Area (CEA) has the effect of suspending the designated uses
[potable Class IIA Quaternary Aquifer and Potomac Raritan Magothy (PRM) Aquifer
System beneath the site] and constituent standards in the indicated area of operation of
the recovery systems for the duration of this NJPDES-DGW Permit. The southern portion
of CEA 1 includes groundwater beneath Lots 1,2,3,4 & 5, of Block 301, Pennsville
Township, Salem County. The northern portion of CEA 1 includes Lots 1, 2, and 3 of
Block 185 and Lot 5, Block 193 of Carneys Point Township, Salem County to a depth of
approximately 200 feet. CEA 1 now includes the ball fields in Lot 5, Block 193. CEA 2
includes groundwater beneath Lots 1 and 2 of Block 185, Carneys Point Township,
Salem County, to a depth of approximately 200 feet. The NJPDES-DGW Permit No.
NJ0083429 lists the compounds for which the constituent standards are suspended for the
duration of the permit.

 

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Preliminary Assessment Report Evaluation Approach and Methodology |

3.0 EVALUATION APPROACH AND METHODOLOGY

This section describes the approach and methodology used to identify potentially
contaminated areas of concern at the site that warrant additional investigation. As
described below, the approach and methodology included developing a comprehensive
Geographic Information System (GIS) and accompanying databases of site analytical
data, historical process information, and spatial data. This GIS was used as an
investigative tool. Other elements of the approach included the division of the site into
focus areas and implementing a conceptual model of migration pathways for use as a
basis for integrating analytical data with site process information. This approach was

used for all areas of the site, including areas not previously designated as SWMUs or
areas of concern (AOCs) under the RCRA CA program and the ACO with NJDEP (1984,
1988). The final step in the approach was evaluation of the site as a whole as described in
Section 3.8.

Importantly, Section 3.3 provides a description of the New Jersey Technical
Requirements for Preliminary Assessments, and it references where each required
element is presented, or how it was implemented, in this report.

3.1 Background

DuPont has committed to a long-term comprehensive remediation program that builds on

© and integrates the current understanding of the site. The goal of this program is to focus
future remedial actions in order to protect human health and the environment. As part of
this long-term focus, DuPont proposed to follow a systematic process of source
identification, evaluation, and testing consistent with NJDEP regulations. EPA RCRA
CA, NRC and ITRC publications were consulted for additional technical guidance. As
part of this systematic process, DuPont developed a geographical information system
(GIS) that enables integration of site operational history, analytical data of environmental
sampling, and spatial data. The GIS was used to as the main tool for integrating and
evaluating the data.

The objectives of this evaluation are to answer the following questions:

QO What are the historical site conditions and practices that may have resulted in
releases to the environment and what constituents are likely to have been
released?

Q What are the pathways through which constituents may have been or are
transported into environmental media (receptor media)?

Q What are the potential impacts of these constituents on receptor media?

( What additional investigations are needed to evaluate the presence and/or effects
of known or potential historical sources?

In the following sections, the approach used to perform the evaluation is outlined first;
development of the GIS tool and database are described second; the methodology used to
© implement the approach is described third.

 

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3.2

3.3

Approach

Numerous investigations have been performed at the site, including four phases of RFI
and other area-specific investigations and remedial measures. As part of these
investigations, contaminant sources have been identified and remediated, as appropriate.
The work performed as part of this PA was executed for the entire site and for areas that
were not previously evaluated in detail. Specifically, the identification of potential
sources and impacted receptor media described in this report was performed by executing
the following tasks:

Q Developed a GIS and accompanying analytical database for the site. Together,
these features constitute the Chambers Works GIS.

Q Subdivided the site into focus areas (FAs) based on past production history and
for evaluation purposes.

QO) Developed a conceptual site model of how contaminants migrate from sources to
other environmental media (e.g., groundwater, sediment, surface water).

Q Identified manufacturing processes (including raw materials, intermediates,
products, and wastes) and, to the degree possible, quantified corresponding
production rates, based on review of the process history database, literature
review, and interviews with site retirees. In addition, the waste disposal methods
and waste streams were identified using these information sources.

O Identified potential historical or current contaminant sources and receptor media
based on an analysis of soil, sediment, surface water, and groundwater data,
process history data and spatial data (site maps, aerial photographs, e.g.), and
based on the conceptual model of contaminant migration. This methodology is
referred to as a pathway analysis in this report.

Q Based on the results of the FA evaluations, presented the results and the overall
revised conceptual model of potential sources and migration pathways on a site-
wide scale.

Q Identified areas where additional investigation is recommended in order to
confirm the presence of a source and the potential impact to surrounding media.

The approach and methodology were developed such that they satisfy the requirements
for a Preliminary Site Assessment, as described below.

NJDEP Technical Requirements for Preliminary Site Assessment

According to the New Jersey Technical Requirements for Site Remediation
(Amendments Feb 3, 2003), subchapter 3, concerning Preliminary Assessment and Site
Investigation, the “purpose of a preliminary assessment is to identify the presence of any
potentially contaminated areas of concern.” The assessment must be based on diligent

inquiry.

 

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Diligent inquiry according to N.J.A.C. 7:26 E-3.1 (c) must include evaluation of the
following (bold text indicates where the information is located in this report):

Oo

Historical information including maps, title and deed, site plans and facility as-
built drawings, and NJ I-map Geographic Information System (GIS).

Any aerial photographs and plant layout maps that were found for the site
were placed into the Chambers Works GIS which is more fully described in
Section 3. Plant layout maps not previously provided to the NJDEP are
provided in Appendix D. NJ I-map information was also placed into the
Chambers Works GIS.

Site history from time the site was naturally vegetated including names of all
owners, dates of ownership of each owner, and dates of operation of each
operator.

A brief description of the site history and property transfers is described
previously in Section 2. Additional information is provided in the figures in
Appendix D.

Past and present production processes, including dates, potential water use,
ultimate potential discharge and disposal points and how and where materials are
or were received on-site.

A brief description of historical through current production history is
summarized in each focus area and information regarding dates and
potential discharge or disposal points, if any, is also noted on the Chemical
Process data tables (see Appendix D). Material loading/unloading are
discussed in each FA, if applicable.

All former and current containers, container or bulk storage areas, above and
below-ground tanks, above and below-ground waste and product delivery lines,
surface impoundments, landfills, septic systems and other structures, vessels,
conveyances or units that contain or previously contained hazardous substances,
hazardous waste, and pollutants.

Review of areas of bulk storage and tanks was part of the pathway analysis
for each focus area and part of the aerial photograph review summary,
which can be found in respective focus area appendices.

For sites that exceed 2 acres, an aerial photograph history of site must be
completed back to 1932 or the earliest photograph available.

Individual focus area aerial photograph reviews are contained in respective
appendices. The earliest available aerial photographs dates to 1940.

Any data or information concerning known discharges that have occurred on the
site.

The site currently maintains a database as part of its spill control plans and
is submitted to the NJDEP. In addition, a phase I type of outside vendor
database review of releases was completed and downloaded and placed in
Appendix A.

All Federal, State and local environmental permits including permit identification
number, application date, date of approval, denial or status, permit expiration

 

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date.
Permits are described in Section 2.5 and in Appendix C.

QO All administrative, civil and criminal enforcement actions for alleged violations of
environmental laws concerning the site.
DuPont is requesting a variance on summarizing this information at the
current time.

Q) All areas where non-indigenous fill materials were used to replace soil or raise the
topographic elevation of the site, including dates of emplacement.
Areas of fill were noted during the aerial photograph review and are
summarized in each focus area as necessary.

Q Remediation activities previously conducted or currently underway at the site
including dates of previous remedial actions, and all existing sampling data
concerning contaminants at the site.

Remedial activities are summarized in each focus area section.

QO All existing environmental sampling data concerning contaminants at the site.
Data tables were queried from the DuPont Environmental Database
(Envista®) for all media, soil, sediment, surface water, groundwater, and
non-aqueous phase liquids (NAPL). Tables are included in Appendix D. Soil
Management data are also included in Appendix U.

QO Site visit.
DuPont is requesting NJDEP to grant a variance on the requirement of a site
visit, due to the fact that personnel who worked on this evaluation and report
are assigned by the DuPont Corporate Remediation Group, along with
personnel from the Alliance contractor URS-Diamond, to the Chambers
Works Complex and visit it on a daily or regular basis.

Chambers Works GIS

The GIS was built, in part, to help execute the site assessment described in this report.
Notably, the GIS stores and handles site data in a way that provides a dynamic tool for
integrating analytical, spatial, and historical data in accord with the NJDEP Preliminary
Assessment requirements of diligent inquiry. Specifically, it helped to identify potentially
contaminated areas of concern.

More generally, the GIS was developed to support strategic decision-making about the
site in the future. Besides its use as an investigative tool for the assessments described
here, the main goal of developing the GIS was to help update the CSM for the Chambers
Works Complex and to facilitate future updates to the CSM as additional spatial and
analytical data are collected (e.g., during future investigations, remedial activities, and
from ongoing site monitoring efforts). The CSM developed for the Chambers Works
Complex reflects the current understanding of historical and existing site conditions, past
and current contaminant sources, environmental fate, and transport of contaminants.

 

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Spatial and analytical data are managed with a GIS database and a relational database,
respectively. Many sources of data were collected for incorporation into the GIS
database, as described in the following sections.

3.4.1 The GIS Database

Information was gathered and evaluated as described below to meet the requirements of
the NJDEP Tech Regulations as previously outlined in Section 3.3. The following spatial
data were either scanned or digitized and loaded into the GIS database for review by each
focus area evaluator:

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is)
CQ

Site plan maps from 1919, 1939, 1945, 1952, 1963, 1967, and 2005. From these
maps, 860 structures were digitized, and 165 were identified as process buildings.

Historical and current infrastructure features (e.g., sea walls, bulkheads, surface
water drainage, historical shoreline)

Landfills, surface impoundments, and conveyances
Current and historical outfalls

Historical internal building trench locations identified from library archives and
ditch locations (26.5 miles of drainage ditches and trenches)

Utility maps (well water, sanitary water, river water, fire water, and natural gas)
Current SWMU map (includes 63 SWMUs)

Historical aerial photographs (dated 1940, 1942, 1943, 1944, 1946, 1951, 1953,
1954, 1956, 1959, 1962, 1964, 1974, 1979, 1995, 2001, 2002)

Selected NJ IMAP layers (Public Community Water Supply Wells, Coastal
Flooding Areas, etc.)

Potentiometric maps (1999 to 2005) including 612 well locations (369 active and
243 abandoned)

Geologic Maps (both Isopach and Top of Aquifer Structure)
Current topographic map

The data collected from these various sources were merged into the GIS using the
following procedures:

Oo

Electronic aerial photographs collected from various sources were loaded directly
into the GIS because these photographs already were based on the NJ State Plane
coordinates; no modifications were necessary before uploading them into the GIS.
Historical aerial photographs were scanned into an electronic format and digitally
orthorectified and then loaded into GIS. The 2002 aerial photograph of the site is
shown in Figure 3-1.

Scanned map images, such as plant layout maps with no coordinate system, were
geo-referenced using the GIS and the 2002 aerial photograph. A minimum of
three anchor/reference points (based on sharply defined and known points) were

 

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assigned manually by the GIS operator to the scanned map. The GIS function was
then engaged to place the image over the aerial photograph.

Q A variety of drawings that originally were in AutoCAD and Microstation formats
(based on the Chambers Works plant coordinate system) were converted to the NJ
State Plane coordinate system (NAD 83). A coordinate transformation definition
was set up between the Chambers Works system and the NJ State Plane system
using the Tralaine (Version 5) program. The maps were then loaded as different
layers in GIS.

Senior project personnel completed QA and review of the loaded GIS layers using
comparison and cross-verification review techniques so as to check and verify
correspondence between the original data and the derived data stored in the GIS. As part
of building the GIS database, each layer (such as an aerial photograph) has a set of
associated meta-data to ensure that the original source of the derived data sets is
documented.

Environmental Analytical Database (Envista)

Environmental data are stored in the Environmental Database using the software
Envista®. The database is the repository for all sample data collected at the site, and it
includes two types of analytical data: qualified analytical data and soil management
program data.

Qualified Data
Q Total data set: 586,741 results in 19,260 samples from 3,223 locations

QO Soil: 2,398 samples from 1,176 locations

Q Groundwater: 8,782 samples from 716 locations
QO Surface Water: 668 samples from 167 locations
Q Sediment: 191 samples from 106 locations

The locations of soil samples, monitoring wells, surface and sediment samples are shown
in Figure 3-2 through Figure 3-5.

The data in the database have been submitted to NJDEP in HazSite data deliverables in
their respective original reporting documents.

Soil Management Data

From the early 1980s to present, soil analytical data have been generated as part of the
soil management program on the site. Excess soil resulting from excavations and
construction activities were sampled, mainly as composite samples, and analyzed for
specific analytes. Concentrations were then compared to screening values to determine if
these soils were acceptable for on-site reuse or disposal. In many cases, composite
samples were collected from temporary holding containers that contained soil collected
from different locations, and the analytical methods are not consistent for all samples.
Therefore, soil management data provide qualitative to semi-quantitative information
about analyte concentrations in soil, so the data are not suitable for determining potential
areas of concern and subsequent risk management decisions. As a result, the soil

 

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3.4.3

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3.6

management data (also known as soil reuse data) were evaluated and compiled for this
report although the emphasis was placed on the discrete sample analytical data that were
collected under the RCRA program investigations.

Historical Process Database

Process data from historical files were reviewed by 12 retired Chambers Works scientists.
A total of 230 file drawers of detailed process/manufacturing data were reviewed. These
hard copy data were entered into the historical chemical database using a standard
template to ensure completeness and accuracy. The database is linked to the GIS tool.

A total of 2,463 raw materials/intermediates/products/wastes were identified as a result of
this process. In addition, 433 product lines (batch, continuous, pilot scale) were
identified.

Focus Areas

The process for evaluating the site must consider its size, its long and complex
manufacturing history, its extensive list of raw materials, intermediates, and products, as
well as the voluminous existing documentation about the site. A summary of the data and
information evaluation pursuant to N.J.A.C. 7:26E3-1(c)1 vii, vii, ix, and x is required to
be presented by area of concern and all phases of work for a particular area of concern
need to be integrated into a single discussion of that area. DuPont developed the concept
of focus areas to satisfy the requirements of an integrated discussion.

To help manage the evaluation process and discussion, the site was divided into 16 FAs.
The FA boundaries are approximate, and areas of the site are interrelated, so discussion
of one focus area will often refer to aspects of other adjacent focus areas. The 16 FAs are
listed here in the order they are presented in the report (Figure 3-6 shows the FAs):

QO White Products OQ SWMU 8
Wastewater Treatment Plant (WWTP)

Cogeneration (Cogen)

Dyes

Jackson Labs
Tetraethyl Lead (TEL)
Fluoroproducts
Aramids

Triangle

Praxair
Miscellaneous
Current Off-Site Properties (Off-Site)

Pharmaceutical

Oogcgdadocdc @
uodcdcdadea Oo

Basins Carneys Point

Conceptual Model of Potential Migration Pathways

As previously stated, the history of operations at Chambers Works spans more than 110
years with continuous changes in site operations. Locations of historical chemical

releases and the subsequent fate and transport a chemical complicates the identification of
areas of potential concern in this PAR. Existing analytical data focused on SWMUs and
other areas of interest. Many of these areas have been adequately characterized and

 

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3.7

recommended for no further investigation. At the same time, the process history, spatial
data, and historical analytical data provide a means to identify areas of potential interest.

Identification of known sources, or identification of potential sources, was performed in
an iterative manner by evaluating the process history, spatial data, and historical
analytical data in the context of the following conceptual model:

QO Organic and inorganic constituents: soils may act as a source for dissolved phase
contaminants in groundwater, which can then migrate toward the site [WS or
surface water bodies. Transport pathways were evaluated in the B Aquifer only
because this shallow aquifer is closest to potential surface sources and is the
dominant transport pathway in the subsurface. Transport pathways in the B
Aquifer are defined by the groundwater flow directions (see Figure 3-7).

Q Historical process wastewater may have impacted surface water and sediment by
way of direct discharge to surface water bodies via outfalls along the site
perimeter. These discharges could have impacted sediment, and some impacted
sediments may still be present even though process wastewater discharges via
outfalls was phased out between 1958 and 1975.

{1 Historical surface sources of liquid waste, either from the historical process
wastewater ditches or from waste ponds, may have resulted in migration of
dissolved phase or non-aqueous phase liquids (NAPLs) into the shallow B
Aquifer. NAPL trapped in shallow soils and DNAPL at depth can act as an
ongoing source to groundwater contamination which, as described above, can
then migrate by way of groundwater flow toward the site IWS or surface water
bodies.

Q Insome locations, uncertainty exists as to the presence of potential sources and
migration pathways towards receptor media. In order to reduce uncertainty, the
conceptual model was used along with the data maintained in the GIS to identify
potential significant sources and migration pathways and therefore plan for
additional investigations.

Focus Area Evaluations

Six environmental professionals performed the evaluations. All of these evaluators
possess the training and experience needed to conduct the evaluations properly and were
supported by the information available to them in the GIS, in the Envista database, and
from interviews with current and former employees at the Chambers Works Complex.

The evaluators identified process, manufacturing, storage areas, and other associated
structures or features within each FA based on reviewing aerial photographs, evaluating
building maps, and interviewing employees/retirees. The chemical process database was
used to generate lists of raw materials, intermediates, products, and wastes that were
associated with the buildings located in each of the focus areas.

Envista was queried for data associated with each focus area. Analytes were compared to
applicable criteria and are presented for each focus area by media (groundwater, soil,
sediment, surface water, and other as applicable). In some cases, a one-time grab sample
of groundwater or surface water was collected. Results of these samples were also

 

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3.7.1

summarized in data tables. Summary tables for analytical data were generated from
Envista for each focus area for review of the historical investigation results. Analytes
included the following: VOCs, SVOCs, pesticides, PCBs, herbicides in ug/L (water) or
ug/kg (solids); metals in mg/L (water) or mg/kg (solid); and tentatively identified
compounds (TICs). These data are presented in the appendices.

Soil data were compared to both NJDEP Non-residential direct contact soil cleanup
criteria (NRDCSCC) and NJDEP Impact to Groundwater (IGW) criteria. Groundwater
data were compared to NJDEP Class IIA Groundwater Quality Criteria (GWIIA).
Groundwater data from monitoring wells screened in the B Aquifer was used for the
assessment, as described in Section 3.6. Sediment and surface-water results were
compared to ecological benchmark as outlined in the BEE (DuPont, 2006).

SWMU 8 FA tables were not resubmitted in this report because they were recently
submitted in the SWMU 8 RI Addendum Report (2006). In these cases, the reader is
referred back to the original documentation for the complete data sets.

Pathway Analysis

To evaluate the FAs for historical or current sources and receptor media, the data were
evaluated from two perspectives.

In one approach, process history and material or waste handling areas were identified
along with chemicals used in the area. Potential areas of release or potential source areas
were identified. If environmental data were available in the area, they were then reviewed
for potential impacts from site activities.

In another approach, environmental data were reviewed first and the spatial distribution
of contaminants evaluated. By considering groundwater flow pathways or the location of
the soil data, potential sources that may have caused the impact were identified. Both of
these approaches were performed in an iterative manner.

An analysis was undertaken by reviewing building maps and aerial photographs to
identify process buildings with accessory areas (storage tanks, unloading areas). Then,
the chemical database was reviewed for chemicals of interest. Chemicals of interest could
be identified based on historical process knowledge obtained from documentation or
from interview information. The chemicals of interest were then reviewed for their
presence in different media (i.e., soil, surface water, sediment, and groundwater) along
physical features such as trenches and ditches. Using the GIS, exceedances in various
media were plotted. The goal was to evaluate if any other potentially significant sources
were identified.

This analysis is summarized in the pathway analysis discussion for each focus area.
Additionally, ditches that may be a potential source area are identified in the focus areas;
however, because the ditches are considered on a site-wide scale, they are described in
the Section 4.3.1.

 

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3.7.2

3.8

Recommended Areas for Additional Investigation

Within each focus area discussion, recommendations for additional investigation are
proposed where potential sources were identified. The recommendations are based on the
assessment of potential sources and pathway analysis. If no further investigation is
necessary, justification is provided.

Site-Wide Evaluation

Finally, findings from the individual focus areas were integrated into a site-wide
conceptual model of known and potential source locations, migration pathways, and
receptor media. This integrated evaluation was then used to further define areas for future
investigation at the site. The recommended investigations within these areas are also
presented. The site-wide evaluation is presented in the next section, and it serves as the
culmination of the preliminary assessment of Chambers Works Complex. Subsequent
sections provide the detailed analyses conducted for each focus area, followed by a
summary of conclusions and recommendations.

 

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4.0 SITE-WIDE EVALUATION

This section presents a discussion of site-wide environmental conditions based on an
integration of the focus area (FA) evaluations. Also described in this section is the
development and utilization of the Chambers Works GIS. The GIS was the main tool
used to integrate data within the FAs, and will be used to accurately identify locations of
interest in the field. A detailed historical and analytical data review of the FAs within the
context of the site was conducted. As a result, the boundaries that define process areas
were refined from the initial FA boundaries into eleven AOCs. These AOCs require
additional investigation and general recommendations for additional work are presented.

The purpose of a CSM, generally, is to provide a representation of site conditions that
show what is known (or suspected) about contaminant source areas and the physical,
chemical, and biological processes of contaminant transport. The CSM for the site in this
Preliminary Assessment focused on determining potential source areas and migration
pathways to media receptors (i.e., groundwater, surface water and sediment). Because of
the intent of this Preliminary Assessment, the updated CSM was not extended to
identifying complete exposure pathways to human and ecological receptors.

Based on the evaluation of potential sources and refinement of the CSM, DuPont
recommends the following additional investigation:

Oo

Evaluate B Aquifer groundwater quality downgradient of potential sources in
areas of the site where insufficient data exists. Assessing groundwater quality in
these areas will help to determine whether an area is (or was) a source to
groundwater.

Increase spatial characterization of B Aquifer hydraulic gradients near the site
perimeter to confirm hydraulic containment by the IWS.

Further refine understanding of potential groundwater to surface-water pathways
by installing additional perimeter monitoring wells.

Evaluate soils that may be acting as sources to groundwater by further
characterizing the distribution of elevated concentrations.

Evaluate sediment quality in the vicinity of historical process wastewater outfalls
along the Delaware River and Salem Canal.

Further evaluate soil, sediment and surface water quality in Carneys Point as part
of the Ecological Risk Assessment for Carneys Point.

Refine the location/boundaries of several SWMUs based on review of more
accurate aerial photographs and GIS data.

4.1. Objectives

The objectives of the site-wide evaluation are as follows:

QO

Describe the chemical constituents, sources, and impacted media that are
prevalent on a site-wide scale.

 

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4.2

4.2.1

Q Describe the history and potential impact of a primary on-site source that is
present throughout the Chambers Works manufacturing area — the historical
ditches and outfalls

Q Summarize the findings and recommendations of the individual FA evaluations
that are presented in Chapters 5 through 20.

Q Based on the results of the FA evaluations, define AOCs wherein additional
investigation is recommended.

Q Present a revised Conceptual Site Model in tabular form that summarizes the
primary constituents of concern, known or suspected media of interest, and the
primary historical or current sources in each AOC.

O Summarize the recommended additional investigations within each AOC.

Site-Wide Constituents

In general, there are two classes of contaminants that are prevalent at the site: organic
compounds, including volatile organic compounds (VOCs) and semi-volatile organic
compounds (SVOCs), and metals. The most prevalent are SVOCs.

SVOCs

SVOCs are the most common chemical detected in site soil, groundwater, and sediment.
These constituents are mainly associated with the manufacturing of dyes and dye
intermediates in the southern portion of the site. Some of the most prevalent SVOCs, in
terms of their spatial distribution and concentrations measured in soil, sediment, and in
the B Aquifer groundwater, are as follows:

2 Chlorobenzene
Nitrobenzene
Aniline

4-Chloroanaline

ooo po

1,2-Dichlorobenzene
Q 1,2,4-Trichlorobenzene

Numerous other SVOCs, and some VOCs such as benzene, are also present but at lower
concentrations.

Elevated SVOC concentrations in groundwater are present in the former dyes and
intermediates manufacturing areas, in the vicinity of sections of the former process
wastewater ditches, at the perimeter of the former basins, and at the western boundary of
SWMU 8. Even in areas that did not specifically manufacture dyes or related products,
such as the TEL area, SVOCs are present in groundwater. Some wells along portions of
Salem Canal and the Delaware River contain elevated concentrations of site-related
constituents of concern (COCs), indicating the potential for transport of constituents
toward surface water through groundwater discharge. Site-related constituents have also
been detected in sediments in the Salem Canal.

 

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4.2.2

4.3

4.3.1

Although these SVOCs are ubiquitous across the Chambers Works manufacturing area,
in the Carneys Point area, SVOCs are generally not detected in environmental media

because these compounds were not used or manufactured in the Carneys Point area (see
Figures 3-8 through 3-14b).

Metals

Metals are generally detected across most of the Chambers Works manufacturing area in
unfiltered groundwater samples. The most common metals, which also exhibit the highest
concentrations, are iron and sodium. Iron and sodium occur naturally in the environment.
Other metals present at much lower concentrations include lead, arsenic, aluminum,
nickel, mercury, and antimony (for example, see Figures 15a through 16b). These metals
were typically used as catalysts for various manufacturing processes.

Metals are not generally detected in the deeper aquifers, and a study is currently
underway to further evaluate the potential for vertical migration of metals from the
unsaturated zone into the B Aquifer at Carneys Point (Phase IV RFI Supplemental Work
Plan, DuPont, 2005).

Lead, in particular, is present at elevated levels in the former TEL manufacturing area, at
the perimeter of the Basins FA, and in portions of SWMU 8. The presence of lead at
these locations is expected given the manufacturing history and disposal practices.
Relative to the SVOCs, lead is very immobile and does not appear to be transported by
groundwater, as indicated by the absence of dissolved lead at most locations where total
lead is detected above the GWIIA (compare Figure 3-15b and 3-15c’). Accordingly,
dissolved phase lead is not present in perimeter wells. Therefore, it is unlikely that lead
concentrations are migrating from groundwater to surface-water bodies.

Site-Wide Contaminant Sources

The location(s) of site-related constituents in impacted soils and groundwater may be
related, in part, to local features at specific processing, storage, or transport areas. These
potential sources are identified in the individual focus area sections. A potential source
that is present on a site-wide scale is the historical process wastewater ditch system and
associated outfalls. Although these features no longer transport or discharge wastewater
and have been remediated under the ACO with NJDEP, migration of site-related
constituents during historical operations may have resulted in elevated concentrations in
underlying soil and groundwater proximal to the ditch system. This site-wide feature is
presented below.

Ditches and Outfalls

Figure 4-1 shows the historical network of process wastewater ditches and outfalls.
Minor outfalls to the Salem Canal and Delaware River that have historically discharged
only stormwater runoff from roadways and parking areas are not shown. The clustered,
relatively short ditch sections represent building floor drains/trenches, sumps, and/or

 

? NJDEP requires comparison of only total groundwater analytical results to GWIIA.

 

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pipes that drained to the main sections of the exterior ditches. All ditch and outfall
features were imported from other electronic files if available. Features not available in
electronic format were digitized from building maps and site-plan drawings. Ditch and
outfall locations created in the GIS were compared to aerial photographs, historic plant
layout maps, and other drawings to verify accuracy.

General History

From 1917 through the 1980s, process waste handling at the Deepwater Dye Works
(Chambers Works) was through a series of open, lined and unlined ditches. Since 1991,
all process wastewater has been conveyed to the on-site wastewater treatment via a
system of lined sumps, above ground “regional tanks” and an overhead pipeline.
Historically, each production building typically had trenches and/or sumps that collected
process wastewater. Process wastewater then flowed into a drainage ditch adjacent to the
buildings and combined with process wastewater from other buildings and other waters,
including sanitary wastewater, cooling water, stormwater, and steam condensate.

According to interviews with retirees, daily facility cleaning included first washing the
buildings and equipment with water or solvents and then channeling the effluent and
waste materials to the ditches. Site retirees recalled that ditches were almost always
flowing and rarely, if ever, dry.

For buildings at the interior of the site, wastewater entered the nearest ditch and flowed
through the network of ditches that ultimately discharged to the wastewater settling basin
area at the site interior (see Section 12). The settling basin discharged directly to the
Delaware River from 1917 to 1958. The basin was upgraded with an outfall structure and
pH adjustment in 1958. Additional upgrades since 1958 include the construction of the
WWYTP in 1975 and the overhead sewer system in 1991.

For some buildings adjacent to the Delaware River, wastewater entered the nearest ditch
and flowed directly to the river through the nearest outfall location. There were up to 15
historical outfalls along the Delaware River and Salem Canal that may have conveyed
process wastewater directly off-site prior to discharge permitting requirements in1958°.

Before 1932, the Salem Canal was a tidal water body connecting the Delaware River to
the tidal wetlands of Salem Creek. From 1917 to 1932 wastewater from buildings
adjacent to the Salem Canal entered the nearest ditch and flowed to the canal through
outfalls, or to the wastewater settling basin at the interior of the site. In 1932 DuPont
constructed Munson Dam to isolate the canal from the river. DuPont also reconfigured
the ditches adjacent to the canal to prevent process waste from entering the Salem Canal.
After 1932, the outfalls to the Salem Canal upstream of Munson Dam discharged
stormwater and non-contact cooling water only. Engineering controls have been
implemented by DuPont to maintain the water quality in the Salem Canal, as it continues
to be the primary potable water source for the Chambers Works.

In 1957, DuPont constructed an outfall structure and treatment system for the wastewater
basin in accordance with the Federal Water Pollution Control Act (FWPCA). Wastewater

 

3 Since 1991, all process-related wastewater has been conveyed to the on-site WWTP through an integrated system
of regional collection tanks and elevated pipelines, thus preventing discharges to the environment.

 

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from the basin was pumped into a surge tank and treated with lime to adjust the pH prior
to discharge into the Delaware River via the permitted outfall structure 001.

Between 1958 and 1975, process waste outfalls were plugged, and the wastewater was
diverted to the wastewater basin via the ditches. During this period process wastewater
discharged to the Delaware River through permitted outfall 001 after settling of solids in
the basins and pH adjustment. Other outfalls became permitted and continued to be used
for stormwater/non-contact cooling water discharge.

In 1972, DuPont reconfigured the basin and ditch system at the Chambers Works and
began construction of the WWTP in accordance with the Clean Water Act. As described
in more detail in Section 12, the Basins FA was separated into three basins: A Basin, B
Basin, and C Basin. In 1974, the ditch system associated with the TEL manufacturing
area was diverted to flow into the C Basin, which was constructed as a settling and pre-
treatment basin for TEL process wastewater prior to discharge to the A Basin and
subsequent treatment in the wastewater treatment plant.

In 1975, the ditch system from the remainder of the plant was further separated to form
“A Ditch” and “B Ditch.” Process wastewater was discharged through the A Ditch to the
A Basin and then to the WWTP. Some portions of the former process waste ditches were
used for stormwater/non-contact cooling water and designated as B Ditch, discharging to
the B Basin. The A Ditch and B Ditch were later designated SWMU 17 and SWMUs
56/56A, respectively (see Figure 4-2). The location of ditches (SWMUs 17, 56, 56A),
shown in Figure 4-1, is based on as-built drawings and verified in the field during
remediation. These field-verified locations of the ditches from the GIS differ from the
hand-drawn approximations of the ditch system layout in the early 1990s. A modified
map of SWMU 17 and SWMU 56A that more accurately reflects the locations is planned
to be submitted in 2007.

In November 1988 (prior to 11/8/88), as required by regulations, discharge of treated
wastewater to the B Basin was discontinued. Treated wastewater went directly to the
collection tank where it was combined with B Basin non-contact cooling water and
stormwater prior to being discharged to the Delaware River through the permitted
NJPDES outfall.

Remediation of Ditches

In 1991, the unlined A Ditch was replaced with a 1,300-foot overhead piping system that
remains in use. From 1993 through 1996, a large-scale program was initiated to

remediate the network of unlined, exterior ditches. Ditch material was removed from the
bottom of all ditch sections down to the groundwater table as required by the NJDEP.

The sidewalls of the ditch section were sampled approximately 1 foot from the edge of
the ditch and analyzed for specific target constituents. In addition, one sample from each
ditch section was sampled for Appendix IX parameters and tentatively identified
compounds. In areas where sidewall sample concentrations exceeded the A Ditch

sidewall soil clean-up criteria, delineation samples were collected 25 feet on either side of
the initial sample. Any area of sidewall soil that had constituent concentrations greater

than the soil cleanup criteria was removed to a maximum distance of one foot from the
side of the ditch.

 

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4.3.2

SWMU 17 was replaced with a system of pipes and asphalt swales. The replacement
system is currently used for collection and conveyance of noncontact cooling water,
stormwater runoff, and steam condensate to the B Basin. Once the replacement system
was installed, the excavated ditch was brought to grade with clean fill and covered with at
least 3 inches of gravel.

Figure 4-1 shows the portions of the ditch system where ditch material was removed in
compliance with ACO (indicated in green), and those where no removal was required
under the ACO (indicated in magenta). Note that most of the relatively short sections
shown in magenta are building trenches/pipes rather than open and unlined ditches. As
shown in the figure, the majority of the main sections of exterior ditches were
remediated, except for the main ditch sections emanating from the Fluoroproducts FA.
These sections were not remediated, in part, because sampling of the ditch sediment at
some locations showed minimal concentrations of site-related constituents.

Discussion

Some of the post-excavation samples from subsoils beneath remediated ditches and
sidewall samples adjacent to ditches contained constituent concentrations above
applicable screening levels. Therefore, it is uncertain whether the soils are acting as
significant sources of dissolved phase constituents to the B Aquifer groundwater.

DNAPL has been detected in only a few locations across the site. DNAPL is recovered at
SWMU 63 along the Salem Canal and in the northeast portion of SWMU 8. However,
uncertainty exists at major portions of the ditch system in the Dyes and intermediate areas
where chlorinated solvents were used in manufacturing. Evaluation of groundwater data
in several monitoring wells near the main section of the PWDS (SWMU 17) indicate the
presence of organic compounds between 1% and 10% of total aqueous solubility, which
suggests DNAPL is potentially present. Based on this evaluation, additional investigation
is recommended in the area of the ditches.

In addition to major ditch segments, elevated concentrations of site-related constituents
may be associated with clustered networks of lined trenches in certain process areas.
Based on observations made during the extensive ditch remediation program, drains that
lead from the building interior to the exterior ditch were mainly constructed of metal
pipes, wooden culverts, or concrete-lined culverts. The integrity of these lined trenches is
uncertain. Therefore, site-related constituents may also be present in soils near and
beneath the clustered network of the relatively short trench segments shown in Figure
4-1.

Groundwater as a Contaminant Source

Groundwater is defined as an environmental receptor by NJDEP. However, because
migration of groundwater containing site constituents can potentially impact surface
water and sediment, groundwater at the site is itself a potential source. In 1970, DuPont
constructed the IWS to capture groundwater and to help prevent off-site migration of
groundwater containing site constituents. The IWS has been in continual operation for 36

 

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4.4

4.4.1

4.4.2

4.4.3

years, thus maintaining groundwater containment across a majority of the site’ and
removing site constituents from groundwater through the WWTP. Based on an average
flow of 1.5 million gallons per day, and analysis of groundwater quality from the IWS
wells, the IWS recovers over 200 pounds per day of organic constituents (e.g., ODCB,
chlorobenzene, aniline, nitrobenzene, benzene, etc.).

Site-Wide Media of Interest

Surface Water

Surface-water features in the vicinity of the site include the Delaware River, Salem
Canal, Bouttown Creek, and Henby Creek. The potential migration pathways to these
media include surface runoff, interaction between surface water and groundwater (i.e.,
discharge of groundwater to surface water), and discharges from the historical outfalls.

Groundwater

Because the B Aquifer is the shallowest aquifer beneath the site, it is the first aquifer
affected by releases. Therefore, analytical data for the B Aquifer was used for this PA, as
described in Section 3. Deeper C and D Aquifers contain site-related constituents above
GWIIA criteria (but at much lower concentrations than in the B Aquifer) typically near
discontinuities in the B/C confining unit and at interceptor wells. The IWS hydraulically
contains C and D Aquifer groundwater on-site. These aquifers will be evaluated further
as the long-term comprehensive remedial approach moves forward.

In the deeper E Aquifer, one on-site well, NO8-M01E (see Figure 2-3), has relatively low
concentrations of some site-related constituents. However, as described in the E Aquifer
Evaluation as part of the Phase IV RFI (DuPont, 2005), this is believed to be caused by a
faulty well casing as based on cement bond logging. Well NO8-MO01E was to be properly
abandoned by a licensed driller in the spring 2006.

Sediment

Sediment in the vicinity of the site includes Salem Canal sediment, Bouttown Creek and
Henby Creek sediment, and Delaware River sediment. Sediment samples have been
collected in the Delaware River as part of the SWMU 5 and SWMU 52 pre-design
investigations. Organic constituents common to the site were present in SWMU 5
sediment samples. Arsenic and lead associated with the site were detected in sediments
adjacent to SWMU 52. Sampling results from the Bouttown Creek and Henby Creek in
Carneys Point detected metals. Sediment sampling in Salem Canal in the vicinity of
SWMU 63 and analysis of recovered DNAPL revealed elevated concentrations of dye-
related organic constituents.

 

* Shallow groundwater along the western portion of the site near the Delaware River flows towards the river. This
component of groundwater flow is not believed to result in constituent concentrations being discharged to the river
above ambient water quality criteria based on modeling. However, additional investigation is currently being
performed to further evaluate this flow path.

 

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Sediment investigation and a remedial alternatives analysis is underway at Salem Canal.
Additional assessment of sediment in Carneys Point will be conducted under the
ecological risk assessment. Sediment sampling is planned in the Delaware River in the
vicinity of the historical process wastewater outfalls. This sampling will be performed as
part of the Perimeter Investigation that will follow this PAR.

Areas of Concern (AOCs) and Recommended Investigations

As described in Section 3, the assessment of potential sources and receptor media
described in this report was performed in a step-wise approach, the methodology and
findings of which are as follows:

Q Based on an initial understanding of the site history, the site was subdivided into

16 FAs that roughly defined areas with similar histories such as manufacturing
processes and waste disposal practices. Based on additional research, sub-areas
were defined within some FAs, as shown in Figure 4-2.

Aerial photographs, site maps, process history, and analytical data were analyzed
to identify potential sources and receptor media, and make recommendations of
areas for further investigation. As shown in Figure 4-3, DuPont recommends
additional investigations across most of the site. It should be noted that for those
areas that are currently being investigated or where remedial measures are
underway, additional investigation was not recommended based on the findings of
this PAR. For example, SWMU 8 is not designated for additional investigations
because characterization is complete and a Corrective Measures Study is
underway. Carneys Point also was not designated for additional investigation in
this PAR because investigations are ongoing or will be performed as part of a
separate ecological investigation.

As a result of the detailed historical and analytical data review performed as part
of this PAR, the boundaries that define different process areas were refined from
the initial FA boundaries. Based on this refinement, and on areas at the site that
require additional investigation, 11 AOCs were defined, as listed below and
shown in Figure 4-4:

AOC 1: Fluoroproducts

AOC 2: TEL

AOC 3: Jackson Labs

AOC 4: Aramids

AOC 5: Historical Basin Footprint and Ditches
AOC 6: Dyes

AOC 7: Elastomers

AOC 8: Warehouse, Transport and Construction
AOC 9: Monastral

AOC 10: White Products

AOC 11: Former Drainage Ditch

 

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4.6

In addition, Delaware River sediments that may have site-related constituents associated
with former outfalls are included in the AOC table in Figure 4-4, and sampling of these
sediments is recommended.

The table in Figure 4-4 summarizes the updated conceptual site model, as described in
Section 4.6, and provides the recommended investigations within each AOC. Specifics
regarding the number and locations of sampling and monitoring points are not presented
in this PAR. Following receipt and incorporation of agency comments on this PAR, a
work plan for additional investigations associated with the site perimeter will be
submitted, followed by a work plan for additional investigations associated with the
interior of the site.

Recommendations
Additional investigation is recommended in each AOC. In general, additional sampling is
proposed to meet the following objectives:

Q Evaluate B Aquifer groundwater quality downgradient of potential sources in
areas of the site where insufficient data exists. Assessing groundwater quality in
these areas will help to determine whether an area is (or was) a source to
groundwater. Example sources include the following:

Former process wastewater ditches

Major loading and unloading areas

Areas of waste disposal

Suspected areas of residual NAPL or DNAPL accumulations

Q Increase spatial characterization of B Aquifer hydraulic gradients near the site
perimeter to confirm hydraulic containment by the IWS.

Q Further refine understanding of potential groundwater to surface-water pathways
by installing additional perimeter monitoring wells.

Q Evaluate soils that may be acting as sources to groundwater by further
characterizing the distribution of elevated concentrations.

Evaluate sediment quality in the vicinity of historical process wastewater outfalls
along the Delaware River and Salem Canal.

Q Further evaluate soil, sediment and surface water quality in Carneys Point as part
of the Ecological Risk Assessment for Carneys Point.

2 Refine the location/boundaries of several SWMUs based on review of more
accurate aerial photographs and GIS data.

Updated Conceptual Site Model

A CSM is a representation of site conditions, including what is known or suspected about
the contaminant source area(s) and the physical, chemical, and biological processes that
affect the transport of contaminants through environmental media to potential
environmental receptors. The CSM for the site focused on determining potential source
areas and migration pathway to media receptors (i.e., groundwater, surface water, and

 

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sediment). Because of the purpose of the Preliminary Assessment (PA), the CSM was not
expanded to identifying complete exposure pathways for human and ecological receptors.

The Chambers Works CSM has been updated based on the findings of this PA. The
updated CSM is similar to the previous CSM, but more distinct potential sources have
been identified.

The CSM can be summarized as follows: site-related constituents, mainly organic
chemicals such as chlorobenzene, 1,2-dichorobenzene, aniline, nitrobenzene, benzene,
and other SVOCs and VOCs related to the manufacturing of dyes, dye intermediates, and
elastomers, are present at elevated concentrations in groundwater across the Chambers
Works manufacturing area (south of the Carneys Point area). The distribution of site-
related constituents is the result of several factors:

QO The size of the historical manufacturing area,

Q The fact that the manufacturing and use of these organic chemicals were not
building-specific but rather changed from building to building over time,

Q Releases of chemicals to soil at discrete locations such as a loading/unloading
areas, miscellaneous releases near process buildings, and on a larger scale, from
the network of earthen process wastewater ditches that transported liquid waste
from the manufacturing areas to the basins.

The presence of organic chemicals in groundwater across much of the Chambers Works
manufacturing area is due to (1) the use of these chemicals in manufacturing or as
solvents and (2) the transport of groundwater caused by large-scale pumping of the IWS
since 1972.

Because of these factors, it is impossible to identify all locations where subsurface soil or
DNAPL is contributing to elevated levels of constituents in groundwater.

In some cases, chemicals that are specific to particular products are present mainly in
those areas where they were produced. For example, carbon tetrachloride is used in the
production of flouroproducts and the highest groundwater concentrations are present in
that manufacturing area (see Figure 3-13b). Lead is another example: it is present in soil
and groundwater mainly in the former tetraethyl lead manufacturing area (see Figure 3-
15b). The very low mobility of lead in groundwater is another reason why it is
concentrated in this area.

Historically, some process wastewater discharged from the ditches directly to the
Delaware River and Salem Canal via outfalls. Hence, sediment may contain site-related
constituents near these locations.

The above discussion outlined the CSM that was defined prior to the PA. All of the
elements still hold. The primary updates based on the PA are described below.

Additional potential sources and source areas have been identified. These include, for
example, soil present beneath clean fill south of the Basins FA and the location of a
100,000-pound discharge of ortho-chloronitrobenzene near the central portion of the
manufacturing area (which occurred in the 1980s). Details regarding these and other
sources are described in the FA sections. An updated CSM is summarized in tabular

 

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format in Figure 4-4 and includes potential sources, potential migration pathways, and
media of interest.

A significant aspect of this PA effort is the precision of the CSM that has been
established as a result of the GIS system. For example, although contaminant sources
already were considered more likely in manufacturing areas with higher production rates,
specific locations within the manufacturing areas have been identified precisely by
digitizing site maps and aerial photographs. Further, these locations can now be identified
accurately in the field. This upgrade will facilitate confirmation of potential sources, such
as ditches, by sampling at precise locations. Similarly, the locations of historical outfalls
have been mapped and will therefore be used as the basis to define the sediment
investigation program as part of the perimeter investigation.

DuPont will continue to update the GIS system by incorporating the results of additional
investigations as they are performed. Likewise, the CSM will be refined and will be an
excellent tool to help manage and direct future remedial actions.

 

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Preliminary Assessment Report Focus Area — White Products

 

5.0

5.1

FOCUS AREA —- WHITE PRODUCTS

Evaluation of the White Products FA indicates that further investigation is recommended
near Ponsol #2 (Building 770) and White Products North Bulk Storage area (north of
Buildings 149, 152, 788). The proposed investigations are based on the evaluation of
historical process data, aerial photographs, site maps, analytical results of soil, sediment,
and groundwater sampling, and on a pathway analysis. The review and analyses were
conducted consistent with applicable regulations and guidelines.

The Ponsol #2 Building trench is an area of interest because solvents (e.g.,
anthraquinone, chlorobenzene, aniline) were used extensively in the production of Ponsol
dyes in this building, and wastes were washed into the building trench and out to the
process wastewater ditches. Groundwater sampling in the vicinity of these and other
former ditches is recommended to assess these features as potential sources of
groundwater contamination.

The Borneol House (Building 148) trenches and drainage are of interest because
turpentine and other raw materials may have been released to ditches and/or to a former
outfall into the Salem Canal. Sediment has not been sampled at that discharge location.
Therefore, evaluation of ditches is recommended, as well as sediment sampling in the
Salem Canal at the former outfall locations.

The White Products North Bulk Storage area was long used for chemical storage, and
releases may have occurred in former loading, and unloading areas to the north of
Buildings 149, 152, and 788. Compounds of interest, including 1,2-DCB and
chloroaniline, have been detected in shallow groundwater south of former Buildings
149/152.

There are currently no monitoring wells in the northwestern portion of this FA, which is
downgradient of the Bulk Storage area and downgradient of a north-south trending ditch
that drained the former Dyes manufacturing area. Therefore, groundwater sampling is
recommended in this area to assess these features as potential sources to groundwater.

The full evaluation is presented in the rest of this section. Details about the recommended
investigations, such as number and location of monitoring wells, sampling points, and
sampling methodology, will be presented in subsequent work plans.

Areas of Interest

The White Products FA encompasses about 20 acres in the southernmost section of the
site and in the south-southeastern portion of the former Dye Works (see Figure 5-1). The
White Products FA is bounded by the Salem Canal to the south, Broadway Road and the
Triangle FA to the north, Shinn Road and the Pharmaceutical FA to the east, and Garage
Road and the Dyes FA to the west.

 

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Preliminary Assessment Report Focus Area — White Products

5.2

5.2.1

Several SWMUs are located within the White Products FA and have been investigated or
remediated as part of the Chambers Works RFI program. These areas are shown in
Figure 5-2 and are discussed in the History section (see Section 5.2), but they do not
require additional evaluation as part of the pathway analysis:

O SWMU 10: Solvent Recovery Unit II
OQ SWMU 38: Clean Water Injection Well JOS5-W01E
QO SWMU 41-5: Drum Storage Area

The following areas of interest are subject to pathway analysis to determine if additional
investigations are necessary:

GQ Former Ponsol #2 (Building 770): Western Side of Building Loading Area and
Interior Building Trench

Q Borneol (also known as Bornidol) House Trench and Ditch (Building 148)
Q White Products North Bulk Storage Area (north of Buildings 149, 152, 788)
These areas are shown in Figure 5-3.

Based on common processes, history, chemical use, and disposal practices, the
White Products FA has been subdivided into two distinct areas (Figure 5-1):

Q Southern side: Synthetic Camphor/White Products area included four buildings,
used in the early years for the production of synthetic camphor, which were taken
over for White Products. White Products used three main buildings in the area,
and one is still in use (Building 788).

QO Northern side: Ponsol Colors area consisted of one main manufacturing building
(770) and one warehouse (588). Two supporting buildings, the Ponsol office and
change house, and a laboratory were located across Broadway Road.

As seen in Figure 5-2, White Products Road divides these two areas.

History

The White Products area started in 1917 with the production of synthetic camphor. In the
1930s, production of various detergents and textile protectants began and continues to the
present day. In 1936, DuPont built the Ponsol #2 building (Building 770) north of the
detergent/protectant manufacturing area for the production of Ponsol colors. Ponsol color
production was discontinued in 1980s when DuPont sold the dye business. The former
Ponsol Colors area is now a parking lot.

Synthetic Camphor and Current White Products Area

Before 1917, the White Products FA was open land and bordered on a road (Canal Road)
to the residential community known as Fenton’s Beach. Initial construction of the
Deepwater Dye Works began in the 1917 with the construction of the Synthetic Camphor
buildings. A plant (consisting of four buildings) was built at the Dye Works on the site of
the existing White Products operations (Synthetic Camphor and current White Products
area). Synthetic camphor was manufactured from 1918 to about 1922. The compounds

 

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Preliminary Assessment Report Focus Area — White Products

 

used in the production of camphor included the following: acetone, sulfuric acid, caustic
soda (sodium hydroxide), chlorine, hydrochloric acid, sulfur dioxide, sperm oil, peanut
oil, cocoa nut oil, anhydrous isopropanol, and bulk ammonia. A typical off-gas from the
methylol stearamide process was formaldehyde fumes (DuPont, 1978). After the camphor
operations ceased, several of the buildings built for camphor production were later
converted for use by White Products operations.

In the early 1930s, DuPont acquired the Newport Chemical Cosynthetic camphor process
and moved operations into a building originally used for the manufacture of TEL and
ethyl chloride. This newly developed process started production in 1932 and continued
until 1959. Camphor manufacturing went online with a rated capacity of 1.5 million
pounds per year (DuPont, 1978). By adding extra manufacturing equipment, production
increased to 2.5 million pounds in 1936. The peak production for camphor was 9 million
pounds/year in 1944.

In 1949, the process catalyst was changed and camphene was produced in tablet form. In
1950, DuPont installed equipment for this "Zeset" S (Dimethylolethyleneurea)
production. The "Zeset" family of products are used in the textile industry for the coating
of various fibers and was sold commercially. The material was used to "cross-link"
cellulose to impart crease resistance. In 1955, the camphene tablet line was discontinued,
and the equipment was sold. In 1959, DuPont discontinued manufacturing of camphene.

The following buildings were used to manufacture camphor:

Q Old Camphor Building/Gardinol Building (147): This building operated from
1918 to 1922 and was idle from 1922 to 1932. In 1932, the building was
revamped for production and converted to camphene production in 1934.

Q Acetyl Building (149): This building completed sulfation of imported Lorol fatty
alcohol with chlorosulfonic acid.

Q Camphene Building (152): Building processes are not currently known.

Q Building 788 (or “A” Building): Construction of this building started in early
1937. This building produced accelerator No. 522, “Aridex” white products,
WPX.HW and MR-41 DuPont Plant Spray, “Duponol” MEAW, Retarder W and
“Zwinte” A. In 1938, alcohol purification was added to building processes and
dipentamethylenethiuram tetrasulfide (“Tetrone” A) was produced.

O Old Borneol House: This building was also referred to as Bordinol (148) and was
demolished in 1946.

 MP-Plant (189): This building was constructed in 1947 and 1948, and was idle in
1949,

No data are available for camphor waste disposal practices. Based on disposal practices
ascertained from the Dyes FA (see Section 6), it can be assumed that any wastewater
produced was most likely released to the closest ditch system. As discussed in Section
4.3.1, process wastewater from buildings adjacent to the Salem Canal may have
discharged directly to the canal prior to 1932, at which time the canal became the primary
freshwater water supply for the plant.

 

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Preliminary Assessment Report Focus Area — White Products

5.2.2

5.2.3

Current White Products Area

In addition to producing camphor, in 1932 DuPont formed a corporation with Proctor and
Gamble (Gardinol Corporation, later renamed Duponol). The Gardinol Corporation
manufactured higher alcohols and sulfates for detergents. From 1932 to present, the
White Products FA has made a variety of compounds, including detergents, textile
finishing agents, water repellents, rubber chemicals, and petroleum chemicals.

Currently, Building 788 (the “A” Building) is the main building for producing protectant
chemicals used for treating textiles and nonwoven materials. Approximately 40 products
are produced, most of which use several different monomers, with the main ingredients
being either ZFAN or ZFM. (Those ingredients are currently produced in the Chambers
Works Zonyl® Intermediates Building.)

Based on a process database review, Buildings 149 and 152 were used to produce
compounds similar to those in Building 788 (e.g., Zelec®, liquid surfactants). These
buildings were demolished in the late 1980s.

Since 1991, the process wastewater from the White Products “A,” “B,” and “D” buildings
is pumped to regional collection tanks and then to the on-site WWTP by overhead
pipeline.

Ponsol Colors

The Ponsol Colors area primarily produced vat colors and their precursor intermediates
from February 1919 until about 1980 when DuPont sold the dyes business. Ponsol Colors
was a DuPont trade name for vat colors containing the anthraquinone nucleus; however,
early dye history refers to these dyes as anthracene colors. Vat colors are a class of
insoluble dyes that are suitable to impregnate into textile fibers. The dyes produced in the
Ponsol Color area included “Ponsols,” “Leucosols,” “Lithosols,” “Sulfanthrenes,”
“Potamines,” Celanthrenes,” DuPont Anthraquinone colors, and “Latyls” dyes.

The vat colors made in the Ponsol Colors area were developed from a basic chemical
building block, the anthraquinone nucleus. Anthraquinone was originally made at the
Dye Works from anthracene (coal tars) and later from phthalic anhydride. In 1936 to
1980, Ponsol Colors production was consolidated into the Ponsol #2 Building (770). The
Ponsol #2 Building housed intermediates, colors, and standardization sections, and was
expanded in 1939, 1941, and 1952 for increased production. The Ponsol #2 Building was
razed in the early 1990s.

Based on Chambers Works documentation dating from 1919 to 1958, dye production
from 1922 to 1927 ranged from | million to 3.6 million pounds per year. In 1939,
production was approximately 37.5 million pounds per year. These production numbers
increased from 1939 until 1944, reaching approximately 77.8 million pounds per year.
Ponsol Colors production then declined through the late 1940s into the 1950s to
approximately 51 million pounds per year. No production statistics for the Ponsol Colors
manufacturing area are available for the 1960s and 1970s. In January 1980, DuPont
announced the sale of 80% of its dye business, and dye manufacturing at Chambers
Works continued only to the end of 1980.

 

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5.3

5.3.1

5.3.2

5.3.3

Based on interviews with retired plant personnel, the waste from the Ponsol #2 Building
was released to the existing floor drains, which connected to the existing site ditch
system. In addition, the building foundation or trench was not removed when the building
was razed. The Ponsol #2 Building foundation was covered with gravel, and in 2005 was
covered with an asphalt parking lot. Because the trenches were concrete lined, they are
not considered to be a significant historical source for soil contamination.

Previous Investigations

The SWMUs identified as part of the RFI within the White Products FA are shown in
Figure 5-2 and are discussed here. More detailed descriptions of these SWMUs were
submitted in January 2002, in the report titled Chambers Works FACT Sheets (DuPont,
2002).

SWMU 10 (Solvent Recovery Unit Il)

SWMU 10 recovered chlorinated solvents such as chlorobenzene and
1,2-dichlorobenzene (ODBC) in association with the dye manufacturing area including
the Ponsol Colors area. The SWMU is approximately 700 square feet and was sampled as
part of the Phase I RFI. Samples for soil were analyzed for the following chlorinated
solvents: benzene; chlorobenzene; 1,2-dichlorobenzene (ODCB); 1,3-DCB; and 1,4-
DCB. No constituents were detected in the samples. This area is currently paved and used
for truck parking. Based on these sample results, no further remedial activities were
warranted for SWMU 10. An NFA and Covenant Not to Sue was issued by the NJDEP
on October 24, 2002 for SWMU 10; therefore, no additional work is proposed for

SWMU 10. This SWMU was not retained as needing further evaluation.

SWMU 38 (Clean Water Injection Well J05-W01E)

The site has several clean water injection wells that historically were used for injecting
potable water into the deep aquifer unit for storage during times of drought. One of these
wells, JOS-WO1E, is located in the southern area of SWMU 45-1. This well was not used
for waste disposal. Based on a downhole video survey, the wells are in good structural
condition. In a letter dated March 25, 1993, EPA agreed that NFA is required. Therefore,
no further investigation is needed in this area.

SWMU 41-5 (Drum Storage Area)

This SWMU is a drum storage area that was used to store raw materials, finished
products, and waste materials associated with manufacturing processes. The area is
approximately 3.5 acres and was sampled as part of the Phase I RFI. Investigation results
for soil indicated that all metal concentrations with applicable criteria were below the
NRDCSCC. No volatile or semi-volatile constituents were detected. This area is currently
paved and is used for parking trucks. An NFA and Covenant Not to Sue was issued by
the NJDEP for SWMU 41-5 on October 24, 2002; therefore, no additional work is
proposed for SWMU 41-5. This SWMU was not retained as needing further evaluation.

 

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5.3.4 SWMU 17 and SWMU 56A

5.4

Sections of SWMU 17 are located within the White Products FA. Details about this
SWMU are presented in Section 4.3.1. The sections of SWMU 17 (Process Water Ditch
System) within this FA were remediated in the early 1990s and replaced with pipes that
are currently used to convey stormwater and non-contact cooling water.

Pathway Analysis

The following pathway analysis was performed in accordance with the methodology
described in Section 3.7.1. For the White Products FA, a number of areas were identified
for further evaluation. This conclusion was based on the historical area review, aerial
photograph evaluation, review of existing data from various media, review of historical
investigations, and review of existing remedial documentation. This section provides the
information that was collected and discusses the evaluation that was conducted.

This pathway analysis used, to the extent possible, the existing environmental data in
accordance with the NJDEP Technical Requirements. Relevant tables are provided in the
CD in Appendix D.

Q Chemical Process Database: The chemical process database was queried for the
buildings that exist or existed in this focus area and is provided in Appendix D.

Q Buildings, Trenches, and Utilities Review: The GIS Building layer,
Ditches/Trenches/Outfalls layer, and the Utilities layer were reviewed for this
focus area.

QO Soil Data: Soil analytical data for this focus area are provided in the tables in
Appendix D. Sampling locations and associated chlorobenzene (mg/kg) are
shown in Figure 5-4. Figure 5-5 shows chlorobenzene concentrations vs. NJIDEP
IGW criteria.

QO Sediment Data: Sediment is not present in this focus area.
Q Surface-Water Data: Surface water is not present in this focus area.

Q Groundwater Data: Groundwater analytical data for this focus area are provided
in the tables in Appendix D for VOCs, SVOCs, pesticides, herbicides, metals, and
TICs for the active B Aquifer wells. Appendix D also provides data tables for the
abandoned wells formerly located within the White Products FA. Active and
abandoned well locations are shown in Figure 5-6. A total of 15 samples were
evaluated: 12 sets from JO5-M02B, one set from I05-M01B (installed December
2005), and two sets from JO7-M01B.

In compliance with the NJPDES-DGW Permit No. NJ0083429, groundwater
quality in site perimeter wells is monitored. The wells in this program in
proximity to this focus area are shown in Figure 5-6. Monitoring well JO5-M02B
is monitored as part of the DGW program.

The shallow groundwater flow (see Figure 5-6) in the White Products FA is likely
split due to the presence of the Salem Canal to the south. A small portion of the

 

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5.4.1

5.4.2

5.4.3

shallow groundwater flow may flow south toward Salem Canal during conditions
when the canal water level is lower than the surrounding B Aquifer (gaining
conditions), and away from the canal when the canal water level is higher than the
surrounding B Aquifer (losing conditions). The remainder of groundwater flows
under the area to the northeast and toward the IWS pumping wells.

A primary manufacturing component at the site was chlorobenzene, and this compound
was most commonly detected in the soil and groundwater samples. Therefore,
chlorobenzene is used to illustrate the contaminant distribution. Analytical data for all
constituents in soil and groundwater were reviewed along with chlorobenzene and are
presented in Appendix D.

Ponsol #2 Building (770): Western Side of Building Loading Area and
Interior Building Trench

The Ponsol #2 Building trench is considered a potential area of interest based on process
and waste disposal knowledge. Many chemicals used in the production of Ponsol dyes
were solvents (e.g., anthraquinone, chlorobenzene, aniline), and these solvents were used
extensively in this building. The waste disposal practices in the early years involved
washing wastes into the building trench and out to the ditches that ran to the basins.

The western side of the Ponsol #2 area was associated with storage, loading, and
unloading of materials for use in the Ponsol #2 Building. Additionally, a process water
ditch ran north-south in this area and connected to the building trenches. No soil samples
have been collected in this area. In shallow groundwater from monitoring well JO7-M01B
(just to the north of the building and near the associated trench and ditch features),
compounds of interest including chlorobenzene, carbon tetrachloride, 1,2,4-
trichlorobenzene, and aniline have been detected above GWIIA.

Borneol House Trenches and Drainage

The Borneol House (Building 148) trenches and drainage are considered a potential area
of interest based on the lack of process and waste disposal knowledge. Process
wastewater containing turpentine and other raw materials entered process waste ditches
and may have discharged to the Salem Canal prior to 1932. Process wastewater
discharged after 1932 was conveyed to the wastewater settling basin at the site interior.

In the shallow groundwater at a nearby well (105-M01B), compounds of interest have
been detected, including ethylbenzene, xylenes, naphthalene, and 1-naphthylamine. The
sediment in the Salem Canal has not been sampled at the location of the discharge from
the former trench/ditch that passed just north of the former Bornidol House. Additional
sampling of Salem Canal sediment is planned for early 2007 as part of the Salem Canal
Seep investigation.

White Products North Bulk Storage

The White Products North Bulk Storage area is considered a potential area of interest
based on the long use of the area for chemical storage. Releases may have occurred in
former storage, loading, and unloading areas to the north of White Products Buildings

 

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Preliminary Assessment Report Focus Area — White Products

 

5.9

149, 152, and 788. Compounds of interest, including 1,1-DCE, 1,2-DCB, cis-1,2-DCE, 4-
chloroaniline, and diethy! phthalate, have been detected in shallow groundwater from
well I05-M01B (south of former Buildings 149/152).

Summary of Recommendations

Based on the pathway analysis, the following is recommended for the White Products
FA:

Q Collect groundwater samples in the vicinity of the North Bulk Storage area to
evaluate the potential effects on groundwater quality.

Q Collect groundwater samples in the western portion of the Ponsol Colors area
because there are currently insufficient analytical data to characterize
groundwater quality in this area.

QO Collect groundwater samples in the vicinity of the process wastewater ditches and
process building trenches in the Ponsol #2 building area to assess groundwater
quality and potential presence of DNAPL.

Q Evaluate sediment quality in the vicinity of the historical process wastewater
outfalls along the Salem Canal. The sampling will be performed as part of the
perimeter investigation.

Groundwater samples may be collected from wells that are currently not used for
sampling purposes, where present, or by installing additional monitoring wells, for
example. Details about the recommended investigations, such as the number and location
of monitoring wells, sampling locations, and sampling methodologies, will be presented
in subsequent work plans.

Areas recommended for investigation are shown in Figure 5-7.

 

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Preliminary Assessment Report Focus Area — Dyes

 

6.0

FOCUS AREA - DYES

Evaluation of the Dyes FA indicates that further investigation is warranted throughout the
FA except in the Administration and Carpentry Shop areas. The recommended
investigations are based on the evaluation of historical process data, aerial photographs,
site maps, analytical results of soil, sediment, and groundwater sampling, and on a
pathway analysis. The review and analyses were conducted consistent with applicable
regulations and guidelines.

The compounds detected in soil, sediment, and groundwater samples in the Dyes FA are
consistent with the chemicals used in the dye processes and at the site in general. In the
areas of SWMU 63 and the Salem Canal seep investigation, groundwater samples have
elevated SVOC concentration, and DNAPL is present in three wells in the southern
portion of the FA.

The FA borders the Salem Canal, and elevated levels of site-related constituents in
sediment have been detected in one section of the canal. Additional sediment sampling in
the vicinity of former process wastewater outfalls is recommended in order to evaluate
the potential impact of legacy discharges.

There are few soil and groundwater sampling locations throughout the Dyes FA. Given
the elevated constituent concentrations at those locations where samples were collected,
the presence of DNAPL, and the fact that some dyes were produced in multiple areas, it
is possible that areas of the former wastewater ditches and building trenches are potential
current contaminant sources. Therefore, DuPont recommends collecting groundwater
samples in the vicinity of the process wastewater ditches to evaluate groundwater quality
and the presence of DNAPL. Additionally, installing monitoring well(s) in the northern
portion of the FA is recommended since the spatial extent of characterization of
groundwater quality cannot be defined with the current distribution of monitoring wells.

The full evaluation is presented in the rest of this section. Details about the recommended
investigations, such as number and location of monitoring wells, sampling points, and
sampling methodology, will be presented in subsequent work plans.

 

6.1 Areas of Interest

The Dyes FA encompasses about 39 acres in the south-central portion of the Chambers
Works Complex along the Salem Canal. It is bounded by the Triangle FA to the north,
the Jackson Laboratory (Jackson Labs) FA to the west, the Salem Canal to the south, and
White Products FA to the east (see Figure 6-1).
Ten areas are pertinent to the Dyes FA history, as shown in Figure 6-2. Included are two
SWMuUs where remedial measures are completed (see Chambers Works FACT Sheet,
DuPont, 2002):

Q SWMU 41-3: Drum Storage Area

2 SWMU 9: Solvent Recovery Unit 1

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Preliminary Assessment Report Focus Area — Dyes

 

6.2

6.2.1

A potential pathway analysis was not completed for these areas as part of this PAR. In
addition, the Administration area and Carpentry area are not considered for further
evaluation in the pathway analysis because these areas have served as non-production
areas since dye production began in 1917.

The remaining historical areas are subject to pathway analysis to determine if additional
investigations are necessary:

QO Sulfuric Acid Plant Area

Q Naphthalene Intermediate Area (including SWMU 63: Azo Dye Area)
Q Basic Colors and Sulfur Colors Areas (two areas)

Q Azo Colors Area

Q Ponsol Colors Area

Because the processes were not building specific, the process area was combined into one
area for evaluation.

History

The majority of dye and intermediate compound production, from the beginning of the
DuPont company involvement with the dyestuff industry in 1917 until it left the industry
in 1980, occurred in the Dyes FA. In fact, this area was responsible for the majority of
dye production in the United States, with hundreds of different brand name dyes and an
uncountable number of different intermediary compounds being produced. In addition to
producing products for market, research and development at the Jackson Labs, and other
product-specific laboratories, the Dyes FA also contributed to the development of
fluoroproducts (e.g., Freon), tetraethyl lead (TEL), and elastomer products (e.g.,
“Neoprene” and “Viton’”), among others.

This section summarizes the history of the Dyes FA. A more comprehensive history is
provided in the in the report titled Chambers Works History (DuPont, 1978).

Initial Dye Manufacturing

In the summer of 1915, Dr. A. Chambers was working to develop sources of toluene for
DuPont and suggested that DuPont look into the manufacture of a number of dye
intermediates, the idea being that these products would be sold to companies already in
the dye manufacturing from coal-tar derivatives. In 1916, DuPont purchased from
Levinstein Ltd. their completed information on the manufacture of coal-tar dyes and
intermediates and embarked DuPont in the dyes business.

Before 1917, the Dyes FA was open land and bordered on a road (Canal Road) to the
residential community known as Fenton’s Beach. Initial construction of the Deepwater
Dyes Works began in 1916-1917. A plant for the production of chlorine and caustic soda
by electrolysis of salt was erected southeast of the Deepwater pier (near the center of the
TEL FA) and was intended for dual service to the Carneys Point Powder Works and the
projected Dye Works operations. Also erected near the Chlorine building was the Sodium
Plant and Phenylglycine Building to provide intermediates for the Indigo Factory. In the

 

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Dye FA, other construction projects were started almost simultaneously and included
manufacturing facilities for various intermediates and the three main types of dyes (azo,
basic, and sulfur colors).

In the spring of 1917, using processes developed at Eastern Laboratory, Gibbstown, New
Jersey, some equipment in the picric acid buildings (see Fluoroproducts FA) were
adapted to make the first dye at Chambers Works, sulfur black. Sulfur black dye was
made from picric acid, dinitrophenol and polysulfide. Four other dyes produced later in
1917 included auramine, indigo, azo, and sulfur colors.

A listing of all of the known buildings is included in Appendix F. Figure 6-2 shows the
buildings that were present on the 1939 plant layout map and the 1940 aerial photograph,
a year during which much of the dye manufacturing was occurring. Figure 6-2 is a
representative depiction of the general layout of the process buildings, storage building,
tanks, and other surface structures during the period of active dye manufacturing.

Dyes were produced in batch runs. Therefore, an industrial process string for the
production of any particular dye does not exist. Certain dyes or intermediates were
primarily made within specific areas. These dyes could also easily have been
manufactured in other areas as vacancies or production needs required. It is also possible
that multiple dyes were produced at the same place at different times. With the exception
of the Sulfuric Acid Plant and the Naphthalene Intermediate area, there is a possibility
that any given dye, intermediate compound, or waste stream could have occurred within
any process area of the Dyes FA.

The basic building blocks for chemicals and dyes for the Dyes FA can generally be
summarized as organic compounds, commonly of benzene derivation. The base products
and some of the common building-block chemicals that were used include the following:

O) Base Products

Anthracene
Benzene
Naphthalene
Toluene
Xylenes

QO Building Blocks (some common intermediates)

Alpha & beta-naphthylamine

Anthroquinone (reduced anthracene, produced at Chambers Works)
Benzidine

Chlorobenzene (chlorinated benzene, produced at Chambers Works)
Dinitrotoluene

Nitrobenzene (nitrated benzene, produced at Chambers Works)

Q Catalysts/Reacting Agents

e Nitric acid (produced at the Ordnance Works on-site)
e Sulfuric acid (produced at the Sulfuric Acid Plant on-site)
e Titanium chloride

4 Select metals

 

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6.2.2

Antimony

Arsenic

Bromine

Chromium

Cobalt

Copper

Gypsum (a precipitate in some process reactions)
Lead

Mercury (catalyzing agent)
Nickel (catalyst)
Palladium

Phosphates

Platinum

Sulfates

Vanadium (catalyst in sulfuric acid production)

Sulfuric Acid Plant

The Sulfuric Acid Plant was located within the northwestern portion of the Dyes FA (see
Figure 6-2). This area included the Oil of Vitriol Plant (also known as O.V. Plant) and all
production buildings, tanks, and support areas used in the production of sulfuric acid,
which was widely used throughout the site. The Sulfuric Acid Plant was located south of
the Carpentry and Machine Shops (Building 85), west of the Basic Colors Area, east of
various storehouses of the Jackson Labs FA, and west and north of the Naphthalene
Intermediate area.

Buildings in this area included the O.V. Plant, preheater and converter house, acid
storage tank, and a sulfur storage area. A listing of all of the known buildings in this area
is included in Appendix F.

The Sulfuric Acid Plant originally consisted of two units with two converters in series
and vessels for distilling oleum using platinized asbestos as a catalyst. By 1930, this
catalyst was changed to platinized magnesium sulfate. In 1945, the new Leonard
Monsanto Plant began operation and used vanadium pentoxide as a catalyst. In 1946, the
original units were shut down and later dismantled. The Leonard Monsanto Plant

continued operation until the 1980s when it was shut down and eventually dismantled in
1998.

Sulfuric acid was an intermediate chemical supplied to various dye production areas of
the site. In addition to sulfuric acid for dye operations, the Sulfuric Acid Plant also
produced oleum for the DuPont Carneys Point Works to support nitrocellulose
production. Based on inventory records, over 4.5 billion pounds of sulfuric acid were
produced at the site from 1917 to 1958. Production is reported to have peaked at

140 million pounds per year in 1941. After 1960, the reduction in dye production at the
site and decreasing nitrocellulose production at Carneys Point Works resulted in
decreasing demand for sulfuric acid.

 

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Preliminary Assessment Report Focus Area — Dyes

 

6.2.3

6.2.4

Naphthalene Intermediate Area

The Naphthalene Intermediate area was located south of the Sulfuric Acid Plant (see
Figure 6-2). At least 27 buildings were located within this area. A listing of all of the
known buildings in this area is included in Appendix F. Buildings and tanks within this
area were used for the production of naphthalene and other nitrobenzene intermediate
compounds that were common building blocks for dye production.

This area was primarily used to create the various intermediate compounds used
throughout the site and the Dyes and White Products FAs in particular. Although
complete inventory records are not available, a record search provided an indication of
the diverse and complex compounds created in this area. As such, no single process
history or waste stream data are available.

Because of the nature of intermediary compound batch production, record-keeping during
the operational period of this area, and the large number of distinct compounds created,
comprehensive production lists are not available. However, records indicate that in the
years spanning the 1930s, the Naphthalene Intermediate Area produced about 6.5 million
pounds of products annually. This production peaked during World War II at about 32
million pounds annually. In 1958 production was down to about 13 million pounds
annually and continued to decline throughout the 1960s and 1970s until all dye-related
production ended when DuPont left the dye business in 1980.

Basic Colors and Sulfur Colors Areas

The Basic Colors and Sulfur Colors areas were located in the northwest and south central
portions of the Dyes FA (see Figure 6-2). Many building names are associated with the
type of dye produced at some time, such as the “Victoria Green Building,” the “Magenta
Building,” and the “Sulfur Blue Building.” However, because some processes were
relocated over time, it is likely that multiple types of dyes were produced in any given
building, regardless of that building’s name. Thus, the processes and chemicals used in
this area are more appropriately characterized by examining the collective data, which is
representative of the Basic Colors and Sulfur Colors areas as a whole.

Based on a historical records review, the amount of dyes produced per year in this area
often was reported generically. However, in 1920, 16 basic colors were produced, and the
recorded production was about 1 million pounds annually.

Basic dyes are typically amino derivatives (and acetic acid and softening agents) that are
used mainly for application to paper. Sulfur or sulfide dyes contain sulfur or are
precipitated from a sodium sulfide bath. Unlike other areas that were largely based
around a particular dye process, this area was widely used to run up processes for new
dyes created at Jackson Labs and other laboratories. The rate at which the Basics Color
Area brought dyes to market implies that this area could have hosted many different
compounds (Wingate, 1982).

According to a site retiree, dinitrophenol, a solid organic compound, was produced in the
Sulfur Black Building (Building 724) located in the north-central area of the Dye FA (see
Figure 6-3). As the chemical was produced, it would granulize and smaller granules
would be caught in the updraft through the roof flue, from which it would settle to the

 

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6.2.5

6.2.6

surrounding ground. The retiree had no knowledge of any activities to remove any settled
material.

Azo Colors Area

The Azo Colors area is located in the eastern central portion of the Dyes FA (see Figure
6-2). At least ten buildings were located within this area. A listing of all of the known
buildings in this area is included in Appendix F. The buildings included offices and
laboratories, storage, change house, grinding and mixing, and other buildings.

Azoic dyes contain the azo (nitrogen) group and formic acid, caustic soda, metallic
compounds, and sodium nitrate. These dyes were made especially for application to
cotton and represent the largest quantities, in terms of pounds produced, of all dyes.

A complete discussion of the synthesis of azo dyes could fill several volumes of text.
However, at its core, the creation of azo dyes involves the creation of a diazo salt and a
coupling component. An example of a diazo salt is diazotized sulfanilic acid that is
created through the hydrogenation and nitration of sulfanilic acid. An example of such a
coupling is with diazotized sulfanilic acid and 1-naphthylamine. This reaction creates the
acidic color 2-Naphthol Orange and the basic color 1-Naphthylamine Red.

Based on a records review, the amount of total dyes produced during the 1940s and 1950s
was between 7 to 10 million pounds annually. These production numbers include Azo,
Basic Colors, and Sulfur Black.

Ponsol Colors Number 1 Area

The Ponsol Colors #1 Area is located in the eastern central portion of the Dyes FA (see
Figure 6-2). Ponsol #1 (Building 179) and the Ponsol Laboratory and Offices (Building
584) are located on the central-eastern portion of the Dyes FA (see Appendix F).
Buildings of unknown use and designation are located immediately east of the Ponsol
Building No. 1 and likely were used in the production of Ponsol dyes in some manner. At
least five buildings were located within this area. A listing of all of the known buildings
in this area is included in Appendix F.

In 1918, anthracene color (blue, black, yellow) production began at the site. These dyes
eventually fell under the Ponsol Colors trade name. These dyes, also called vat dyes,
were impregnated into fiber under reducing conditions within a vat of solutions and then
reoxidized to an insoluble form. Natively, these dyes are very insoluble compounds and
are some of the highest-quality (and most chemically complex) dyes ever produced.

Historically, the Ponsol # 1 building was used as a potash recovery facility. This facility
became obsolete in 1925 when anthroquinone manufacturing ceased at the site. A records
review indicated that the building was used for the manufacture of beta-amine
intermediates and dyes as well as dye standards for the Sulfur Colors Area. In 1956, the
operations were moved to Ponsol # 2 building and the next year the building was
dismantled. A history of the Ponsol #2 Building is included in the White Products FA
discussion (see Section 5).

 

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6.3

6.3.1

6.3.2

Current Conditions

Buildings and processes within the Dyes FA have been progressively dismantled since
1980, when DuPont left the Dye manufacturing business. Figure 6-2 shows the buildings
that currently occupy the Dye area. The only operating process buildings within the Dyes
FA are the Ethylene Oxide and the White Products "D" building. The remaining
buildings are used for storage, maintenance, change houses, or administrative offices and
will not be discussed further herein.

Ethylene Oxide Center (115)

Ethylene Oxide (EtO) is purchased by DuPont from an off-site vendor and used in this
area to conduct ethyloxylations. This process is used to purify chemical intermediates in
support of the Performance Chemicals manufacturing. Wastewater generated during this
process is pumped to the on-site WWTP.

White Products “D” Building (888)

The White Products "D" building (888) is currently part of the White Products
manufacturing area and produces textile products and surfactants. Waste material from
this process is sent to the wastewater treatment plant for disposal. Additional information
on the White Products manufacturing process is discussed in Section 5.0.

Previous Investigations

The SWMUs identified as part of the RFI within the Dyes Focus Area include the
following (see Figure 6-2). More complete descriptions of these SWMUs were submitted
in January 2002, in the report titled Chambers Works FACT Sheet (DuPont, 2002).

SWMU 41-3

SWMU 41-3 was identified by the EPA during a 1987 site analysis as a drum storage
area that was used to store raw materials, finished products, and waste material associated
with manufacturing processes at the Chambers Works manufacturing area. This area
operated prior to 1970, and it is unknown when storage ceased. SWMU 41-3 is a 0.53-
acre asphalt paved area. It is currently used as a parking area and as the site of a storage
building which covers the majority of this SWMU location. The location of SWMU 41-3
is shown in Figure 6-2. As part of the Phase III RFI, no further action was proposed for
SWMU 41-3 because all detected soil concentrations were below NRDCSCC and IGW.
This SWMU was not retained as needing further evaluation.

SWMU 9

SWMU 9 was an isopropyl alcohol recovery unit associated with dye manufacturing that
was used from 1917 though 1948. The alcohol recovery building was demolished in
1986. The area is now a concrete pad that is used for drummed material storage. The
location of SWMU 9 is shown in Figure 6-2. In 2002, a deed restriction was recorded
with Salem County. An NFA and Covenant Not to Sue was issued by the NJDEP for
SWMU 9; therefore, no additional work is proposed for SWMU 9. This SWMU was not
retained as needing further evaluation.

 

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6.3.3

6.3.4

SWMU 63

The objective of the Phase IV RFI investigation for SWMU 63 was to obtain initial
characterization data for the SWMU. Results of the groundwater evaluation indicated that —
SWMU 63 should be considered a high priority SWMU, and removal of DNAL from
G06-M03B was recommended by installation of a properly designed recovery well. A

new recovery well was installed at the base of the B Aquifer (top of the B/C confining
unit) in September 2005 as part of the DNAPL program (G06-M03B). Since subsequent
DNAPL surveys in the new recovery well did not detect the presence of DNAPL. DuPont
recommended to continue the delineation efforts in the area.

The extent of DNAPL in SWMU 63 has been delineated to the north and south as part of
the Salem Canal seep delineation work. However, further delineation in the vicinity of
well G06-M03B, and the eastern and western portions of SWMU 63 were deemed
necessary.

The work plan (December 21, 2005) was developed using the results and
recommendations from the Phase IV RFI report (April 2005). The SWMU 63
investigation is currently ongoing as part of the Phase IV RFI Supplemental Investigation
Work Plan. The work plan includes further soil and groundwater investigation in order to
better characterize the area for prioritization purposes.

SWMU 63 was retained during the evaluation.

Salem Canal Seep Investigation

In August 2002, during drought conditions, a purple colored seep was discovered
entering the Salem Canal from the site. The NJDEP hotline was notified as was the
NJDEP case manager. DuPont installed an emergency boom/silt curtain around the area
of observed surface water discoloration, approximately 100 feet in length to contain the
seep.

In 2002, investigative activities were initiated, including sampling and analysis of surface
water and groundwater in the area of the seep to chemically characterize the seep and to
evaluate groundwater containment. Because the canal is used for the plant’s fire, process,
and potable water supply, the potable water intake was sampled to confirm that
contamination was not present. Sampling of Munson Dam potable water intake occurs on
a regular basis and current results continue to be below method detection limits.
Constituents detected in the seep were primarily organic compounds.

A more extensive surface-water and sediment sampling event was conducted in 2004 to
delineate the extent of contamination in sediment. Constituents detected in the sediment
exceed screening criteria, but there were no constituents in surface water above
ecological criteria inside or outside the silt curtain/boom in November 2004.

In order to determine the source of the contamination, DuPont developed a conceptual
model for the seep area. Potential seep source areas were evaluated by reviewing
historical aerial photographs, and conducting interviews with former employees.
Groundwater sampling conducted in 2003 and 2004 also helped confirm the area of
impacted groundwater. The likely source of the contamination was determined to be

 

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6.3.5

6.4

related to the former Azo dye manufacturing area (now SWMU 63). Azo dye
manufacturing occurred in the area from approximately 1918 until 1980. A report
summarizing the investigation of the Salem Canal seep area through 2005 was completed
and submitted to the NJDEP in June 2005 (Salem Canal Interim Remedial Measure
Selection Report).

Based on recommendations in the ISM report, a Pre-Design Investigation work plan was
developed in November 2005. Fieldwork for the hydrogeologic and geologic portions of
the investigation were completed from December 2005. Currently, groundwater modeling
for the area is being completed to better evaluate potential remedial design options.
Sediment sampling for delineation purposes is currently ongoing.

The Salem Canal seep area was retained during the pathway evaluation.

SWMU 17 and SWMU 56A

Sections of SWMU 17 and SWMU 56A are located within the Dyes FA. Details about
these SWMUs are presented in Section 4.3.1.

Pathway Analysis

The following pathway analysis was performed in accordance with the methodology
described in Section 3.7.1. For the Dyes FA, some areas were identified for further
evaluation. This conclusion was based on the historical area review, aerial photograph
evaluation, review of existing data from various media, review of historical
investigations, and review of existing remedial documentation. This section provides the
information that was collected and discusses the evaluation that was conducted.

This pathway analysis used, to the extent possible, the existing environmental data in
accordance with the NJDEP Technical Requirements. Relevant tables are provided in the
CD in Appendix D.

4 Chemical Process Database: The chemical database does not contain any relevant
data for the Dyes FA. Since no chemical processes have ever been done in the
Administration Building, this building was not retained for evaluation.

Buildings, Trenches, and Utilities Review: The GIS Building layer,
Ditches/Trenches/Outfalls layer, and the Utilities layer were reviewed for this
focus area.

Q Soil Data: Soil analytical data for this focus area is provided in Appendix D.
Boring locations and chlorobenzene concentrations are shown in Figures 6-4 and
6-5.

Q Sediment Data: Sediment analytical data for this focus area are provided in
Appendix D. Sediment sample locations and chlorobenzene concentrations are
shown in Figure 6-6. Sediment data for this focus area are related to SWMU 41-3
as well as the Salem Canal Study area.

Q Surface-Water Data: Surface-water analytical data for this focus area are provided
in Appendix D. Sample locations and chlorobenzene concentrations are shown in

 

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Figure 6-7. Surface-water data for this focus area are related to the Salem Canal
Study area. These samples are discussed in more detail below.

Q Groundwater Data: Groundwater analytical data for this focus area are provided
in Appendix D. Chlorobenzene concentrations in B Aquifer wells are shown in
Figure 6-8. In general, groundwater flows towards the east-northeast towards IWS
pumping well. In the vicinity of the canal, groundwater flow direction is either
towards or away from the canal depending on seasonal conditions.

This pathway analysis used, to the extent possible, the existing environmental data in
accordance with the NJDEP Technical Requirements as noted above. A primary
manufacturing component in the Dyes FA was chlorobenzene, and this compound was
most commonly detected in the soil, sediment, and groundwater samples. Therefore,
chlorobenzene is used to illustrate the contaminant distribution.

In addition, the Administration area and Carpentry area are not considered for further
evaluation in the pathway analysis because these areas have served as non-production
areas since dye production began in 1917. For evaluation of the Dyes FA, all process
areas were combined as an area of interest due to limited available analytical and historic
process data.

All Process Areas

As discussed throughout the pathway analysis evaluation, the following process areas
within the Dyes FA warrant a pathway analysis:

@ Sulfuric Acid Plant Area

Q Naphthalene Intermediate Area (including SWMU 63)
Q Basic Colors and Sulfur Colors Areas (two areas)

QO Azo Colors Area

QO Ponsol Colors Area

These areas have been combined into one unit for the pathway evaluation because they
share a common production history using similar compounds, production methods, and
disposal practices.

In general, review of the compounds detected in soil, sediment, and groundwater are
consistent with the chemicals used with the Dyes Area and within the site in general. In
the area of SWMU 63 and the Salem Canal seep investigation area, constituent
concentrations in soil and groundwater are above applicable criteria, and DNAPL is
present in three wells.

As shown in the figures, there are few soil and groundwater sample locations throughout
the Dyes FA. Given the high constituent concentrations and presence of DNAPL and the
network of former process wastewater ditches, other source areas may be present in this
focus area. Therefore, additional sampling is recommended.

 

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6.5 Summary of Recommendations

Based on the pathway analysis, the following is recommended for the Dyes FA:

Q Collect groundwater samples in the Basic Colors area because there are currently
insufficient analytical data to characterize groundwater quality in this area.

Collect groundwater samples in the vicinity of the process wastewater ditches and
process building trenches in the Sulfuric Acid Plant area, Basic Colors-Sulphur
Colors area, Naphthalene Intermediate area, and Azo Colors area to assess
groundwater quality and potential presence of DNAPL.

Q Evaluate sediment quality in the vicinity of the historical process wastewater
outfalls along the Salem Canal. The sampling will be performed as part of the
perimeter investigation.

Groundwater samples may be collected from wells that are currently not used for
sampling purposes, where present, or by installing additional monitoring wells, for
example. Details about the recommended investigations, such as the number and location
of monitoring wells, sampling locations, and sampling methodologies, will be presented
in subsequent work plans.

Areas recommended for investigation are shown in Figure 6-9.

 

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Preliminary Assessment Report Focus Area — Jackson Labs

7.0

7.1

FOCUS AREA — JACKSON LABS

Assessment of the Jackson Labs FA indicates that further investigation is warranted
throughout the FA except in the Power and Utilities (P&U) area. The recommended
investigations are based on the evaluation of historical process data, aerial photographs,
site maps, analytical results of soil, sediment, and groundwater sampling, and on a
pathway analysis. The review and analyses were conducted consistent with applicable
regulations and guidelines.

Monitoring wells along the perimeter of the FA along the Delaware River indicate
elevated levels of site-related constituents. These detections may be the result of
historical discharges in the vicinity of Buildings 1205, J-26, Former Building 36 (Indigo
Factory), and Building J-24, where most of the process wastewater ditches were present.
Therefore, collection of groundwater samples is recommended to evaluate groundwater
quality and the presence of NAPL and DNAPL in order to assess these features as
potential sources of groundwater contamination. Similar sampling is recommended in the
vicinity of an outfall sump.

DuPont recommends additional groundwater sampling along the site perimeter in the
southwest portion of the FA where there are limited analytical data to evaluate
groundwater quality and the potential for groundwater to surface-water pathways. In
addition, installation of additional wells may be needed in order to enable calculation of
horizontal hydraulic gradient and therefore assess hydraulic containment by the IWS.

The Jackson Labs FA borders the Delaware River and Salem Canal. Therefore, sediment
sampling in the vicinity of former process wastewater outfalls is recommended in order
to evaluate the potential impact of legacy discharges.

The rail unloading area adjacent to process buildings in the Indigo area may have had
historical releases. Therefore, DuPont recommends additional groundwater sampling
downgradient of the primary Indigo unloading areas to enhance spatial coverage and to
evaluate groundwater quality for the presence of site-related constituents.

The full evaluation is presented in the rest of this section. Details about the recommended
investigations, such as the number and location of monitoring wells, sampling points, and
sampling methodology, will be presented in subsequent work plans.

Areas of Interest

The Jackson Labs FA is approximately 32 acres in the southwest corner of the site (see
Figure 7-1). It is bounded by the Salem Canal to the south, the Delaware River to the
west, Fire Road to the north, and Main Street to the east.

Based on common processes, history, chemical use, and disposal practices, the Jackson
Labs FA has been divided into four sub areas (see Figure 7-1):

QO The Laboratories area is in the southwestern portion of the focus area where
laboratories and support buildings were located for chemical process research and
development.

 

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7.2

QO The Semi-Works area is in the northwestern portion of the focus area where pilot-
scale chemical production occurred. This area currently produces chemical
intermediates for the elastomers business at the site.

O The Power and Utilities area is in the southeastern portion of the focus area where
the powerhouse and water treatment plant are located.

Q The Former Indigo Heavy Chemicals area is in the northwestern portion of the
focus area where the Indigo Dye manufacturing operation was located.

As shown in Figure 7-2, several SWMUs are located within the Jackson Labs FA and
have been investigated and/or remediated as part of the Chambers Works RFI program.
These SWMUs are covered in Section 7.2 but do not require additional evaluation as part
of the pathway analysis since no new information was identified that requires additional
investigation:

2 SWMU 28: Telomer “A” Waste Container Storage
SWMU 29: Telomer “A” Waste Treatment Tank
SWMU 33: Manhattan Project-Related Area

SWMU 31: Fly Ash Disposal Area

SWMU 51: Well DW-8

G SWMuwUs 41-6 and 41-7: Drum Storage Areas 6 and 7

More complete descriptions of these SWMUs were submitted in January 2002, in the
report titled Chambers Works FACT Sheets (DuPont, 2002).

Based on the aerial photograph review and process knowledge, several areas of interest
were selected for further evaluation:

() Former Outfalls Associated with SWMU 17

OQ SWMU 39-5 [Former Underground Storage Tank (UST) and Aboveground
Storage Tank (AST) location]

OQ Main Switching Station and Transformer Pad area

ooo oa

Q Rail Unloading Spots in Former Indigo Heavy Chemicals and Naphthalene areas

The areas of interest are shown on Figure 7-3.

History

Before 1917, the location of the Jackson Labs FA was a residential community known as
Fenton’s Beach, consisting of 62 individual lots and associated streets. In 1917, DuPont
began to purchase the individual lots and consolidate them into a single property for the
Deepwater Dye Works. The property acquisition continued until the final lot was
purchased in 1927.

Initial construction of the Deepwater Dye Works began in 1917 with the construction of
the Jackson Laboratory and the Technical Laboratory for research and development
activities. The Power and Utilities buildings (powerhouse, boiler house, substation,

 

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7.2.1

7.2.2

icehouse, and filter plant) were constructed to supply electricity, steam, potable water,
ice, and compressed air to the Dye Works. DuPont also constructed the Indigo Heavy
Chemicals buildings and associated railroad spurs directly north of the Power and
Utilities area to manufacture synthetic indigo dyes. In 1918, DuPont began the
Semi-Works operation by installing equipment in the former Fenton’s Beach

schoolhouse. Initially, Semi-Works activities included process development and
pilot-scale production of dye formulations developed by the Jackson Labs research and
development (R&D) department. Additional construction continued from 1918 to 1927 as
the remaining residential properties were acquired and replaced with buildings associated
with the Deepwater Dye Works.

Current operations in this FA are discussed below by areas within the FA.

Laboratories Area

The Laboratories area includes 12 primary buildings used for laboratory research and
development and office space, and approximately 30 support buildings used for storage
shops (carpenter, machine, glassware, etc), and the Chambers Works plant fire house.
Research and development activities in the Jackson Labs FA have continued without
interruption from 1917 to the present. Initially, R&D activities were focused on the dye
business but grew rapidly to support other products, including petroleum additives,
synthetic rubber (Neoprene), Freon, plasticizers, Teflon®, Nomex, and Kevlar. Product
formulations and manufacturing processes were developed in the laboratories and later
pilot-tested in the Semi-Works area if the development showed promise. Many product
formulations and processes evaluated in the laboratories did not progress to the pilot test
stage. Historical records indicate that nearly every chemical that was ever used or
produced in any operating area of the Chambers Works was tested in the laboratories at
some point (DuPont, 1978). Process waste from the buildings in the laboratory area was
historically conveyed to the adjacent process waste ditch and is currently collected in
waste sumps and pumped via overhead pipeline to the on-site WWTP.

There are no SWMUs located within the Laboratories Area other than sections of
SWMU 17 (see Section 4.3.1).

Semi-Works Area

The Semi-Works area currently contains three process buildings (J-26, 1205, and 207), an
office building, and several storage buildings/sheds currently associated with the DuPont
Performance Products division (see Figure 7-2). Pilot testing has been conducted in these
buildings, and several previously demolished buildings, to troubleshoot the
manufacturing process prior to large-scale production in other areas of the site. The pilot-
scale test runs required several months to several years depending on the product line. At
the conclusion of pilot-scale testing, the process building was retrofitted with the
equipment needed for the next set of tests. Product formulations and processes yielding
successful test runs were relocated to other operating areas of the Chambers Works for
large-scale production if there was a market for large quantities of the product. In many
cases, the Semi-Works operations generated quantities sufficient to meet market demand
and, for that reason, continued producing products for an extended period of time. Over

 

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time, significant quantities were manufactured in the Semi-Works area. For example, in
the 18-year period between 1940 and 1958, over 3,000 pilot-scale test runs were
conducted and over 85 million pounds of products were produced (DuPont, 1978). These
products included finished products that were shipped to off-site customers, or
intermediate products that were supplied to other operating areas of the Chambers Works.

Current operations in the Semi-Works area include specialty monomer production in
support of the elastomers product line. These operations are part of the Performance
Chemicals West (PC West) area and include Buildings 1205, 1207, J-25, and J-26. The
three specialty monomers are C4/C, mixed perfluoro-dido alkanes (PDA-4,6),
idodetrafluoro-1butene (ITFB or Monomer 4431), and bromotetrafluoro-1-butene
(BTFB). These monomers are used by the DuPont Performance Elastomers operation to
make Viton synthetic rubber.

SWMU 28 (Telomer “A” Waste Container Storage Area)

SWMU 28 is a concrete loading bay attached to Building 1050 that is completely
enclosed and elevated approximately 3 feet above grade. The storage area floor consists
of concrete that is sloped to a drain that leads to the WWTP. Concrete or asphalt covers
the area outside of the porch for 50 feet in all directions. The waste that was stored at
SWMU 28 was a highly corrosive sludge that generated hydrofluoric acid upon exposure
to water or moist air. Wipe sampling conducted during closure of the storage area did not
detect Telomer A waste residue (iodide and fluoride). The RCRA-regulated unit was
certified as partially closed by NJDEP in a letter dated November 18, 1986. As part of the
Phase IJ RFI, a soil and groundwater sample were collected and analyzed for SWMU
related constituents (iodide and fluoride). Groundwater sampling results indicated the
presence of fluoride and iodide in groundwater, but no regulatory criteria were available
for comparison. The RCRA Unit Post Closure Monitoring Program began for this

SWMU in July 2003 in accordance with the NJPDES-DGW permit No. NJ0083429. A
downgradient well (C08-M01B) is monitored annually for SWMU-related constituents
(iodide, fluoride, and antimony) and reported in the NJPDES-DGW Semiannual Status
Report.

SWMU 29 (Telomer “A” Waste Treatment Tank T-130)

SWMU 239 is the Telomer “A” catalyst residue and filter bag treatment facility waste
treatment tank T-130. This unit was closed in accordance with the DuPont closure plan
dated July 26, 1990 and the NJDEP Hazardous Waste Facility Permit dated June 17,
1998. Closure of this unit was documented in the NJ Licensed Professional Engineers
Certification of Closure Report Telomer “A” Catalyst Residue and Filter Bag Treatment
Facility, DuPont Chambers Works, Deepwater NJ dated April 30, 2001.

SWMU 33 (Manhattan Project-Related Area)

Six areas are identified as SWMU 33 at the site. These areas are currently being
investigated by the USCOE as part of the Formerly Utilized Sites Remedial Action
Program (FUSRAP) project. A portion of SWMU 33 (see Figure 7-2) is located in the
Jackson Labs FA within the footprint of Building J-26. In 2006, the USCOE conducted
groundwater and soil sampling around Building J-26 to screen for the presence of
uranium related to former Manhattan Project activities. The final investigation report is

 

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expected to be available in early 2007. During the FUSRAP investigation, the presence of
NAPL was reported in the A fill zone to the northeast of Building J-26. DuPont installed
an A zone well (D08-M014A) in late 2005 to screen for the presence of the observed
NAPL. Monthly NAPL screening has been conducted during 2006 and NAPL has not
been detected. Results of the NAPL screening program are reported in the NJPDES-
DGW Semi-Annual Status Reports.

Power and Utilities Area

The Power and Utilities area contains two primary operating buildings and several
supporting structures. These buildings (powerhouse, boiler house, substation, icehouse,
and filter plant) were constructed to supply electricity, steam, potable water, ice, and
compressed air to the Dye Works in 1917. Water was initially obtained from supply wells
located on-site, but the amount of water wasn’t sufficient to meet plant needs. In 1933,
DuPont constructed Munson Dam across the Salem Canal at the site (and Brown’s Dam
several miles upstream) to isolate the freshwater Salem Creek from the brackish water in
the Delaware River, creating a freshwater reservoir. A freshwater intake was constructed
at Munson Dam, and a water filtration system was constructed south of the Boiler House.
The boilers were initially designed to burn coal, but later were converted to use oil prior
to 1939. By 1957, the energy needs of Chambers Works exceeded the existing capacity,
and DuPont began to obtain steam and electricity from the Atlantic Electric Deepwater
generating station located south of the Salem Canal. Between 1959 and 1962, the fuel oil
storage tanks were removed and replaced with a new water treatment plant. DuPont has
been supplied with steam and electricity from the Carneys Point Cogeneration Facility
since the early 1990s. Current operations in the Power and Utilities area include
distribution of steam and potable water to the site in addition to producing and
distributing compressed air. The water treatment plant operates in compliance with both
federal and state Safe Drinking Water Act requirements. Monitoring results are reported
to the NJDEP Bureau of Safe Drinking Water under program ID PWSID No. NJ1708300.

SWMU 31 (Power Plant Coal Pile and Fly Ash Disposal Area)

SWMU 31 consisted of the former coal pile for the Chambers Works powerhouse and fly
ash resulting from the powerhouse operation. Coal was fed to the powerhouse boilers to
produce steam for the plant. This practice ended in the 1950s when electric generation
ceased and the powerhouse was used to provide compressed air for the plant. The area is
now paved with asphalt.

As part of the Phase III RFI, a soil and groundwater sample were collected and analyzed
for TCL organics plus 10 and TAL metals. Soil results did not indicate SWMU-related
constituents above NRDCSCC. Groundwater results indicated concentrations of some
metals and polynuclear aromatic hydrocarbons (PAHs) above criteria. The elevated
metals results were thought to be elevated due to the turbidity of the sample resulting
from the sampling method (DuPont, 2002). Groundwater in the area is captured by the
IWS and no additional investigation was proposed for SWMU 31.

SWMU 51 (Well DW-8)

Production well DW-8 (E07-W01F) was equipped with an oil-lubricated pump from
approximately 1943 to 1962. The pump was replaced with a water-lubricated pump in

 

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1962. The water-lubricated pump was removed in April 1989 due to the presence of oil in
the well. The source of the oil was determined to be the lubricating oil from the pump. In
a letter dated July 25, 1995, the EPA and NJDEP agreed that DW-8 was thoroughly
investigated and required no further action.

Former Indigo Heavy Chemicals Area

The Indigo Heavy Chemicals area was constructed in 1917 and operated continually until
DuPont ceased production in the early 1970s. Primary buildings in the area included the
Indigo Factory (Building 36), Indigo Storage & Shipping (Building 603), Indigo Melt
(Building 33), Caustic Melt (Building 43), as well as shops, storage sheds, and an office.
The primary product in this area was a synthetic indigo dye. This dye was first produced
by reacting chloroacetic acid, aniline, ferrous sulfate, and caustic soda to form iron
glycine. Iron glycine was treated with caustic soda and caustic potash to form
phenylglycine, the primary intermediate for indigo dye. The initial process included
several washing and filtration steps that reduced efficiency. In 1920, an improved glycine
process based on formaldehyde and sodium cyanide was adopted, improving efficiency.
In the 40-year period from 1919 to 1959, approximately 260 million pounds of indigo
paste and powder were produced. Process wastewater from the manufacturing process
was conveyed into the PWDS (SWMU 17; see Section 4.3.1) located along the western
edge of the operating area. A rail yard located to the east of the operating area was used
for loading/unloading of raw materials and finished product. This rail yard was shared by
both the Indigo Heavy Chemicals area and the Naphthalene Intermediates area to the east.
The operating buildings associated with the indigo dye production were removed prior to
1974 with the exception of Building 603, which is currently used as office space.

SWMUs 41-6 and 41-7 (Drum Storage Areas)

SWMUs 41-6 and 41-7 are drum storage areas within the Former Indigo Heavy
Chemicals Area (0.47 acres and 0.64 acres, respectively) that were used to store raw
materials, finished products, and waste material associated with manufacturing processes
at the site. Currently, both SWMUs are covered with gravel. These SWMUs were
investigated as part of the Phase I RFI. Results indicated that all VOCs, SVOCs, and
metals concentrations were below NRDCSCC. An NFA and Covenant Not to Sue were
issued by the NJDEP for SWMUs 41-6 and 41-7 on October 24, 2002.

SWMU 17

Sections of SWMU 17 ditches are located within the Jackson Labs FA. Details about
SWMU 17 are presented in Section 4.3.1.

Pathway Analysis

The following pathway analysis was performed in accordance with the methodology
described in Section 3.7.1. For the Jackson Labs FA, areas were identified for further
evaluation. This conclusion is based on review of historical area information, aerial
photographs, existing data from various media, previous investigations, and existing

 

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remedial documentation. This section provides the information that was collected and
discusses the evaluation.

This pathway analysis used, to the extent possible, the existing environmental data in
accordance with the NJDEP Technical Requirements. Relevant tables are provided in the
CD in Appendix D.

Q Chemical Process Database: The chemical process database was queried for the
buildings that exist or existed in this focus area. Historical process research
indicates that solid waste material was usually removed from the area and
transported to other areas of the site for incineration or landfill disposal. Liquid
waste was drummed for incineration and or landfill disposal, or discharged to the
PWDS.

Q Buildings, Trenches, and Utilities Review: The GIS Building layer,
Ditches/Trenches/Outfalls layer, and the Utilities layer were reviewed for this
focus area.

Q Soil Data: Soil analytical data for this focus area are provided in Appendix D.
Sampling locations are shown in Figures 7-4 and 7-5, with soil results posted for
chlorobenzene compared to NRDCSCC and IGW, respectively.

Q Sediment Data: No sediment analytical data for this focus area were available.

O Surface Water Data: No surface water analytical data for this focus area were
available.

Q Groundwater Data: Groundwater analytical data for this focus area are provided
in Appendix D for VOCs, SVOCs, pesticides, herbicides, metals, and TICs for the
active and abandoned B Aquifer wells.

Grab groundwater data collected from temporary well-points for this focus area
are provided in Appendix D.

In compliance with the NIPDES-DGW Permit No. NJ0083429, groundwater
quality in site perimeter wells is monitored. The wells in proximity to this focus
area that are monitored as part of the DGW program (F06-M02B, D06-M01B,
C07-M01B, and C08-M01B) are shown in Figure 7-6.

The shallow groundwater flow (see Figure 7-6) in the Jackson Labs FA is tidally
influenced by the Delaware River to the west. Groundwater in the B Aquifer in
the western portion of this FA flows toward the river while the eastern portion
flows to the east toward the IWS pumping wells.

The general suite of SVOCs present at many areas at the site has also been detected in
soil and groundwater in the Jackson Labs FA. PCE was present at elevated concentrations
at most locations and therefore is used to illustrate the contaminant distribution.

Analytical data for all constituents in soil and groundwater were reviewed in addition to
PCE.

 

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7.3.4

Former Outfalls Associated with SWMU 17

Several historical outfalls were located in the Jackson Labs FA that may have discharged
process wastewater to the Delaware River.

Sediment samples will be proposed in the perimeter investigation work plan to
characterize the sediment in the river for site-specific constituents. This work plan will be
submitted after agency review and approval of the PAR.

The process waste sump associated with former permitted outfall 010 has been
historically used as a collection point for process wastewater in the area. It is located at
the site boundary in and area where B aquifer discharges to the Delaware River and may
have historically released site constituents to the B Aquifer. Therefore, groundwater
sampling at this location is recommended to evaluate groundwater quality and potential
groundwater to surface-water pathways.

SWMU 39-5 (Former UST and AST location)

SWMU 39-5 was the location of a former UST adjacent to Building 1128 (Water
Treatment Plant) and two aboveground oil storage tanks from 1917 to 1960. For the
aboveground tanks, secondary containment berms were present. The UST was removed,
and soil was checked for visual evidence of contamination and odor after UST removal;
no evidence of leakage was observed. In a letter dated December 6, 1993, the EPA agreed
that SWMU 39-5 required no further action.

SWMU 39-5 is near the southern perimeter of the Power and Utilities Area where
groundwater containment in the B Aquifer is uncertain. In addition, groundwater data in
the area are limited. Transformers and switching stations are also present in this area.
Therefore, DuPont recommends additional investigation in this area to evaluate
groundwater quality and potential groundwater to surface-water pathways.

Rail Unloading Spots in Former Indigo and Naphthalene Areas

Rail unloading spots adjacent to process buildings that have been in continual operation
have the potential for historical releases to soil and groundwater. Groundwater data and
soil data in the area are limited; therefore, the potential for historical releases to the
environment is unknown.

DuPont proposes investigation of groundwater adjacent to the primary Indigo and
Naphthalene unloading spots to enhance spatial coverage in the area and to evaluate
groundwater quality for the presence of site-related constituents.

Groundwater Evaluation

Evaluation of PCE in soil and shallow groundwater was chosen for evaluation for the
Jackson Labs FA because it was commonly used material in the area and was also
detected in soil and groundwater in this area. Soil concentrations of PCE are posted in
Figure 7-4 and 7-5, and groundwater concentrations are shown in Figure 7-6. An
evaluation of available groundwater quality data indicates detections of site constituents

 

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above criteria. A lack of spatial coverage for groundwater prevents adequate delineation
of the extent of the current groundwater impact in this FA.

Process sumps and ditches associated with operating Buildings have the potential for
historical releases to the environment. Several buildings were identified in consideration
of the operational history, waste disposal practices, and review of available groundwater
quality data as having an increased potential for historical releases for additional
evaluation. These buildings include the following:

Q J-26 (Jackson Labs Product Development Laboratory)

O 1205 (Performance Products West Miscellaneous Products)
Former Building 36 (Indigo Factory)

Q J-24 (Pharmaceutical Chemicals R&D)

DuPont proposes additional investigation to access the potential releases from process
sumps and ditches adjacent to these buildings to evaluate groundwater quality for the
presence of site-related constituents.

Summary of Recommendations

Based on the pathway analysis, the following is recommended for the Jackson Labs FA:

QO Collect groundwater samples along the site perimeter in the southwestern portion
of the Labs area, including the sump location of the former outfall, to evaluate
groundwater quality and potential groundwater to surface-water pathways.

Q Collect groundwater samples in the vicinity of the process wastewater ditches and
process building trenches in the area of buildings J-24, J-26, 36, and 1205 to
assess groundwater quality and potential presence of DNAPL.

Q Collect groundwater samples downgradient of the former Indigo and Naphthalene
loading/unloading area to evaluate the potential effects on groundwater quality.

QO Measure hydraulic head in aquifer at multiple locations near the FA perimeter to
calculate horizontal hydraulic gradient and therefore assess hydraulic containment
by the IWS.

Q Evaluate sediment quality in the vicinity of the historical process wastewater
outfalls along the Delaware River. The sampling will be performed as part of the
perimeter investigation.

Groundwater samples may be collected from wells that are currently not used for
sampling purposes, where present, or by installing additional monitoring wells, for
example. Details about the recommended investigations, such as the number and location
of monitoring wells, sampling locations, and sampling methodologies, will be presented
in subsequent work plans.

Areas recommended for investigation are shown in Figure 7-7.

 

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8.0

8.1

FOCUS AREA —- TEL

Assessment of the TEL FA indicates that further investigation is warranted throughout
the FA. The recommended investigations are based on the evaluation of historical process
data, aerial photographs, site maps, analytical results of soil, sediment, and groundwater
sampling, and on a pathway analysis. The review and analyses were conducted consistent
with applicable regulations and guidelines.

The TEL area was used to produce anti-knock fuel additives, mainly tetraethyl lead
(TEL). Tetramethyl lead (TML), trimethylethyl lead (TMEL), and sodium-lead alloy
were also produced, so the primary manufacturing component in the TEL FA was lead.
Accordingly, lead has been detected at elevated levels in soil throughout much of this FA.
Concentrations of total lead in groundwater in the western portion of the FA exceed
applicable criteria. Insufficient groundwater analytical data exist to define the
groundwater concentration throughout the FA. Therefore, additional groundwater
sampling is recommended to characterize groundwater quality downgradient of and in the
former manufacturing area.

Groundwater flow is predominantly toward the east as a result of the IWS. However,
based on the water levels in the current monitoring wells, which are mostly along the site
perimeter, there appears to be a groundwater divide such that shallow groundwater may
be flowing towards the Delaware River. Measurement of hydraulic head at additional
locations is therefore recommended to enable calculation of the horizontal hydraulic
gradient and therefore confirm hydraulic containment by the IWS.

Currently, there are no monitoring wells on the eastern portion of the FA. Collection of
groundwater samples downgradient of the former TEL area, associated ditch system, and
ethyl chloride AST farm and railroad loading/unloading area is recommended in order
define the spatial distribution of site-related constituents in groundwater and to evaluate
whether these areas are sources of groundwater contamination.

The TEL FA is bordered by the Delaware River. Therefore, sediment sampling in the
vicinity of former process wastewater outfalls is recommended in order to evaluate the
potential impact of legacy discharges.

The full evaluation is presented in the rest of this section. Details regarding the
recommended investigations, such as number and location of monitoring wells, sampling
points, and sampling methodology, will be presented in subsequent work plans.

Areas of Interest

The TEL FA encompasses approximately 38.5 acres along the eastern bank of the
Delaware River. The TEL FA is bounded by the Delaware River to the west; the
Fluoroproducts FA to the north; Jackson Labs FA to the south; and the Aramids,
Triangle, and Dyes FAs to the east (see Figure 8-1).

 

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8.2

A number of areas are pertinent to the TEL FA history, as shown in Figure 8-2. These
include the following four SWMUs where investigations/remedial measures have been
completed and do not warrant any further discussion in the pathway analysis section:

Q SWMuU 25: Lead Flue Dust and Lead Furnace Slag Storage Area
QO SWMU 39-2: Underground Storage Tank

QO SWMU 40: Fuel Oil Storage Tanks

O SWMU 41-8: Drum Storage Area

A pathway analysis of the Antiknocks area (SWMU 57) was conducted to determine if
additional investigation is necessary. This area includes SWMU 6 (Landfill II), C Ditch
Process Water Ditch System, TEL process and storage buildings, ethyl chloride AST
farm, and railroad loading/unloading areas.

In Figure 8-3, the areas of interest are labeled. More complete descriptions of SWMUs
were submitted in January 2002, in the report titled Chambers Works FACT Sheets
(DuPont, 2002).

History

Tetraalkyllead compounds (including TEL) were marketed for use as gasoline motor fuel
additives (leaded gasoline), which suppress engine “knock” and hence were called “anti-
knocking” agents.

The original process involved lead sodium alloy containing 17.2% sodium, which was
made in 2,900 pound lots by melting lead and sodium in a steel kettle and casting into
large pans with loose covers. The alloy was then allowed to cool and solidify and was
ground under a blanket of CO) and discharged into milk cans. Sodium bromide was then
reacted with ethyl chloride in a medium of sulfuric acid and distillation of the reaction
mass.

The first location of TEL production was in the idle Saltpeter Refinery Building (left over
from Carneys Point and WWD), which was remodeled, and equipment was installed for
producing ethyl bromide, lead disodium, and TEL. Plant production of TEL started in
August 1923. In August 1924, TEL production reached a rate of 1.2 million pounds per
year. In 1924, a new plant (called “A”) was being built for ethyl chloride process of TEL,
which did not require the use of bromine. Ethyl chloride was not manufactured in the
TEL area. However, it was used in the process of TEL production and was stored in
several storage tanks in the focus area as shown in Figure 8-2.

In 1925, DuPont separated the TEL area into its own distinct operation area. Ethyl
chloride was purchased from other firms from 1924 until 1927, when the Basic Color
area was assigned to manufacture ethyl chloride for TEL. Additional ethyl chloride
facilities were installed at the site in 1937 and 1943; however, DuPont still purchased it
from other firms (Dow, Shell, and National Distillers).

In 1929, the second TEL building plant “B” started production. In 1930, the third plant
“C” started production. A fourth building “D” was built in 1930 and by 1935 a fifth
building, plant “E”, was in operation. Additionally in 1935, ethyl chloride bulk storage

 

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8.2.1

and recalcification equipment was moved to a remote location. Production increased
during WWII to meet demand for use in both auto and plane fuel. Due to increases in
demand, DuPont worked on accelerating the reaction rates and developed a process that
used acetone as a catalyst. By 1957, the production for the Antiknocks area was 194
million pounds per year.

The EPA began to regulate the lead content of domestic gasoline starting in
approximately 1973. This resulted in a gradual decline in the production of TEL at the
site, which ultimately led to the business shutdown in 1991 and decontamination and
demolition of the site structures between 1991 and 2001. Approximately 300,000 pounds
per day of TEL was produced in the last few production years.

Aqueous streams from the TEL area were combined with water run-off from the
production area and pumped to an accelerator clarifier for lead recovery. The clarifier
required pH adjustment with hydrochloric acid (HCl) due to the high pH of the
wastewater. The adjustment facilities precipitated inorganic lead salts, which were
dewatered with a centrifuge. Solids recovered in the centrifuge were directed to a spray
furnace for lead recovery.

The clarifier overflow was discharged into the “C” Settling Basin (SWMU 16; see
Section 12) to which sodium borohydride was added. The overflow from the basin was
directed to the plant wastewater treatment facility while the dredged solids were
centrifuged.

Additional process information is provided in Appendix H. Groundwater and soil data
associated with the TEL area are further discussed in the pathway analysis section.

SWMU 25: Lead Flue Dust and Lead Furnace Slag Storage Area

SWMU 25 was an asphalt storage area used exclusively for the storage of lead wastes
produced at the Thermal Decontamination Furnace (SWMU 21) and lead treatment areas
(see Figure 8-2). Waste were stored here and later shipped off-site for disposal. Because
lead flue dust was designated as a hazardous waste under RCRA, SWMU 25 is regulated
under RCRA.

During a site inspection conducted by representatives of the NJDEP Bureau of Planning
and Assessment, cracks in the asphalt pavement were observed. A sampling program was
developed to analyze for total lead to determine the extent of contamination. Asphalt
sample results were elevated for lead, so the asphalt surface was washed and resampled.
Lead concentrations in the asphalt samples remained elevated. Lead concentrations in
groundwater samples were also elevated. In 1991, remedial actions conducted by DuPont
included the excavation of the asphalt pad, placing a layer of geotextile over the area
exposed by the removal of asphalt and placing crushed stone over the area. The
underlying soil was to be addressed as part of SWMU 57. SWMU 25 has been certified
closed by the NJDEP. The RCRA Unit Post Closure Monitoring Program began for this
SWMU in July 2003 in accordance with the NJPDES-DGW permit No. NJ0083429. A
downgradient well is monitored annually for SWMU-related constituents and reported in
the NJPDES-DGW Semiannual Status Report. The groundwater in this SWMU is
monitored as part of the perimeter monitoring plan. No further work is being proposed in
this area.

 

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8.2.3

8.2.4

8.2.5

SWMU 39-2: Underground Storage Tank

SWMU 39-2 is part of a network of 19 former USTs that were located at the site (see
Figure 8-2). These tanks contained gasoline, diesel, or waste by-products. The tanks have
been removed; no visual evidence of leakage was observed during removal. Based on
these results, the EPA agreed to no further action for SWMU 39 and no further work is
proposed as a result of this evaluation.

SWMU 40: Fuel Oil Storage Tanks

SWMU 40 comprises three fuel oil storage tanks (TS-1, TS-2, and TS-3) as shown in
Figure 8-2. TS-1 and TS-2 were constructed in the 1930s, and TS-3 was constructed in
the 1970s. The tanks were once used to store No. 6 fuel oil, but have been emptied and
are currently not in use. SWMU 40 is surrounded by an asphalt and gravel covered berm,
and each tank is spill controlled by an asphalt-covered dike containment structure. Soil
samples collected from within and around SWMU 40 did not indicate the presence of fuel
oil. Piezometers in the area have not indicated the presence of free product. DuPont
recommended no further action in the Phase II RFI for SWMU 40; and, based on this
review, no further work is proposed.

SWMU 41-8: Drum Storage Area

SWMU 41-8 is a former drum storage area, which had been used to store raw material,
finished products, and waste material associated with manufacturing operation at the site
(see Figure 8-2). SWMU 41-8 was sampled as part of the Phase II RFI and data indicate
benzo(a)pyrene concentrations slightly exceeded NRDCSCC. Additional sampling
indicated benzo(a)pyrene concentrations were below the NRDCSCC and that the area has
been delineated. Currently, the SWMU is covered with concrete and is no longer active.
DuPont recommended no further action in the Phase II RFI for SWMU 41-8; and, based
on this review, no further work is proposed.

Antiknocks Area

The Antiknocks area (SWMU 57) is a 25-acre section of the TEL FA located along the
eastern bank of the Delaware River (see Figure 8-1). This area was used in the production
of MFAC using tetraethyl lead and related compounds from 1923 until 1991. In addition
to TEL, the Antiknocks area was used to produce tetramethyllead (TML), tetramethy]-
ethyl lead (TMEL), and sodium-lead alloy.

Seventeen buildings (648, 648A, 1249, 647, 1121, 1258, 1170, 765, 856, 1032, 618, 653,
731, 536, 661, 568, and 563) were associated with the production and storage of TEL and
similar products. The majority of buildings in the TEL FA have been dismantled and only
some building foundations remain. The only current operating unit in the area is the SET
organic stripper. This unit receives off-site waste with high organic content and uses a
steam stripper to separate the wastewater from the organic non-aqueous phase liquid. The
wastewater is conveyed to the WWTP for treatment, and the non-aqueous liquid is
drummed and shipped off-site for disposal. Operation of the organic stripper is performed
in accordance with SET procedures and applicable permits.

 

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8.2.6 SWMU 17 and SWMU 56A

8.3

Sections of SWMU 17 and SWMU 56A are located within the TEL FA. Details about
these SWMUs are presented in Section 4.3.1.

Pathway Analysis

The following pathway analysis was performed in accordance with the methodology
described in Section 3.7.1.

Based on the historical assessments presented above, the Antiknocks area (SWMU 57) is
subject to pathway analysis to determine if additional investigation is necessary. This
area includes SWMU 6 (Landfill ID, C Ditch Process Water Ditch System, TEL process
and storage buildings, ethyl chloride AST farm, and railroad loading/unloading area.

This conclusion was based on review of the historical area information, aerial
photographs, existing data from various media, previous investigations, and existing
remedial documentation. This section provides the information that was collected and
discusses the evaluation that was conducted.

This pathway analysis used, to the extent possible, the existing environmental data in
accordance with the NJDEP Technical Requirements. Relevant tables are provided in the
CD in Appendix D.

Q Chemical Process Database: The TEL area was used to produce tetrethyl lead, an
anti-knock preventative agent for automobiles. Additionally, TML, TMEL, and
sodium-lead alloy were produced in the Antiknocks area. The raw materials,
intermediates, products and wastes were reviewed as part of this evaluation.

Q Buildings, Trenches, and Utilities Review: The GIS Building layer,
Ditches/Trenches/Outfalls layer, and the Utilities layer were reviewed for this
focus area.

Q Soil Data: Soil analytical data for this focus area are provided in Appendix D.
Boring locations are shown in Figure 8-4. Further discussion of relevant data is
discussed in the following section.

O Sediment Data: Sediment samples were not collected in the TEL focus area.

Q Surface-Water Data: Surface-water samples were not collected in the TEL focus
area.

Q Groundwater Data: Groundwater data are available for nine active wells located
along the eastern perimeter of the focus area. These nine wells have been sampled
periodically over time, and a few of the wells are sampled as part of the perimeter
monitoring program that is reported in the semi-annual DGW reports. Well
locations, total lead concentrations, and groundwater flow are shown in Figure
8-5. Groundwater flow is predominantly to the east, as a result of the IWS;
however, a groundwater divide exists near to the boundary with the Delaware
River, and shallow groundwater could discharge to the Delaware River.

 

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8.3.1

The primary manufacturing component in the TEL FA was lead, and this compound was
most commonly detected in the soil and groundwater samples. Therefore, total lead is
used to illustrate the contaminant distribution.

SWMU 57, SWMU 6, C Ditch PWDS, and TEL Process/Storage Buildings

SWMU 57 is the Antiknocks Area, which also includes all historical TEL process and
storage buildings. SWMU 6 (Landfill ID) is also located within SWMU 57 and is included
as part of the discussion for SWMU 57.

Characterization sampling of SWMU 57 and SWMU 6 indicated the primary constituents
of concern are inorganic and organic lead compounds. The highest concentrations of lead
were found in the subsoil of C Ditch. Elevated lead concentrations have been detected in
the areas of both SWMU 57 and SWMU 6. SPLP lead concentrations are also elevated
and indicate a potential source of lead in groundwater.

Much of SWMU 57 is covered by building foundations, asphalt, concrete, or crushed
stone, thereby minimizing potential exposure to soil. Two areas in the northern portion of
the SWMU were either not covered or were covered with fill material. Soil samples were
collected in these areas during Phase III RFI, and lead and TEL were detected in the
samples above criteria. Air sampling of these areas also was conducted to evaluate
potential exposure to workers in the area. Results indicated lead and TEL below detection
limits for air sampling. Lead samples were generally collected from shallow depths.
DuPont recommended inspection and maintenance of the gravel cover over this area to
reduce exposure potential.

The C Ditch PWDS, which consisted of 2,000 feet of open and partially uncovered ditch,
was used to carry wastewater generated during the production of motor fuel antiknock
compound (MFAC) in the Antiknocks area. The ditch system is present in Figure 8-2.
The wastewater was discharged from the ditch into a sump and pumped to the

Antiknocks lead pretreatment facility. Process waters contained various lead compounds.
Solids from the process waters in the Antiknocks area settled out and accumulated in the
ditches. The solids that settled there were remediated from the ditch between 1989 and
1991. Wastewater was pumped to the Antiknocks area lead pretreatment facility for pH
adjustment and solids removal. All sludge was removed from the ditch system and also
processed through the lead pretreatment facility.

Sampling conducted along the ditch system was conducted to delineate and/or
characterize the bottom soils in the ditch. Soil samples were collected from within the
boundary of the ditch system and analyzed for total lead and lead compounds including
TEL. Soils data indicated concentrations of total lead, TEL, and low concentrations of
VOCs. Additional sampling was conducted in the ditch system for analysis of total lead,
total organic lead, and select VOCs (chlorobenzene and 1,2-dichlorobenzene). Several
samples exceeded the screening level for lead. Total organic lead was also detected in
several samples, but VOC concentrations were below screening levels. Shallow ditch
samples generally demonstrated the most significant concentrations of lead and total
organic lead. It was determined that total lead and total organic lead should be the only
analytes for further sampling within the Antiknocks Area.

 

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8.3.2

8.4

Based on the results of the Antiknocks area PWDS sampling, DuPont and the NJDEP
agreed to excavate all soil beneath the C Ditch that exceeded 10,000 ppm total lead. At
the request of NJDEP, pre-excavation samples were collected every 250 linear feet along
the ditch. Sampling was conducted to define the vertical extent of total lead
concentrations to a depth of 20 feet below grade. Several samples exceeded the screening

level for total lead and the results were used to define the limitations of the excavation of
the ditch.

Remedial actions completed for the C Ditch system, included the following:

Q Performed in-situ stabilization of 41,800 cubic feet of subsoil contained within the
C Ditch with total lead concentrations of greater than 10,000 ppm.

Q Excavated and placed the treated subsoil into the vault located within the
boundaries of the A/B Basin hazardous waste management unit.

QO Installed a storm conveyance system to maintain plant drainage.

It was recommended after the initial ditch sampling event, that no further characterization
sampling of the PWDS be required because the ditch has been characterized to the
groundwater table and concentrations in sidewall samples are similar to those found in
the remainder of SWMU 57. Closure has not been obtained for the C Ditch system.

Lead concentrations exceeding NRDCSCC were detected in several soil samples
collected in and along the ditches and in areas of former building foundations (see
Figure 8-4).

Lead concentrations in groundwater for this FA are shown in Figure 8-5. As shown in the
figure, there are insufficient data across most of the FA to define groundwater quality.
Collection of groundwater samples downgradient of the former TEL manufacturing area
and associated ditch system is recommended to evaluate whether these areas are potential
sources of groundwater contamination.

Ethyl Chloride AST Farm and Railroad Loading/Unloading Area

No groundwater data have been collected for the ethyl chloride AST farm (Buildings 661
and 771; Figure 8-4) and the adjacent railroad loading/unloading area that is located in
the northern portion of the FA. Therefore, collection of groundwater samples
downgradient of these features is recommended to whether these areas are potential
sources of groundwater contamination.

Summary of Recommendations

Based on the pathway analysis, the following is recommended for the TEL FA:

4 Collect groundwater samples downgradient of the process wastewater ditches and
process building trenches in the eastern side of the FA because there are currently
insufficient analytical data to evaluate groundwater quality downgradient of these
potential sources.

Q Collect groundwater samples in the vicinity of the AST farm to evaluate the
potential effects on groundwater quality.

 

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Q Collect groundwater samples in the FA interior because there are currently
insufficient analytical data to characterize groundwater quality in this area.

QO Collect groundwater samples downgradient of the former railroad
loading/unloading area to evaluate the potential effects on groundwater quality.

OQ Measure hydraulic head in aquifer at multiple locations near the FA perimeter to
calculate horizontal hydraulic gradient and therefore assess hydraulic containment
by the IWS.

Q Evaluate sediment quality in the vicinity of the historical process wastewater
outfalls along the Delaware River. The sampling will be performed as part of the
perimeter investigation.

Groundwater samples may be collected from wells that are currently not used for
sampling purposes, where present, or by installing additional monitoring wells, for
example. Details about the recommended investigations, such as the number and location
of monitoring wells, sampling locations, and sampling methodologies, will be presented
in subsequent work plans.

Areas recommended for investigation are shown in Figure 8-6.

 

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9.0

FOCUS AREA — FLUOROPRODUCTS

Assessment of the Fluoroproducts FA indicates that further investigation is warranted
throughout the FA. The recommended investigations are based on the evaluation of
historical process data, aerial photographs, site maps, analytical results of soil, sediment,
and groundwater sampling, and on a pathway analysis. The review and analyses were
conducted consistent with applicable regulations and guidelines.

Fluoroproducts such as Freon® were produced in the Kinetic area, and elevated
concentrations of compounds typical of raw products and waste stream products, such as
trichlorofluormethane, dichlorodifluoromethane, chloroform, carbon tetrachloride, and
PCE, are present in monitoring wells. Elevated concentration of these compounds are
present in a shallow well that is close to a former trench segment and former outfall,
suggesting the ditches may be former or current sources to groundwater. Unlike other
areas of the Chamber Works manufacturing area, some of the process wastewater ditches
in the Fluoroproducts FA were not remediated. Therefore, these ditches may be sources
for groundwater contamination. Collection of groundwater samples is recommended in
the vicinity of ditch segments to evaluate groundwater quality and the presence of NAPL
and DNAPL. Installation of a monitoring well in the vicinity of the former outfall is also
recommended to evaluate the potential for groundwater to surface-water pathways.

Additional monitoring well(s) are recommended for areas downgradient of the ditch
network because there is currently an insufficient number of wells to characterize the
spatial extent of contaminated groundwater.

Collection of groundwater samples is also recommended in the former petroleum tank
area and alcohol area because there are currently no analytical data to characterize
groundwater quality.

The Fluoroproducts FA borders the Delaware River. Therefore, sediment sampling in the
vicinity of former process wastewater outfalls is recommended in order to evaluate the
potential impact of legacy discharges.

The full evaluation is presented in the rest of this section. Details about the recommended
investigations, such as number and location of monitoring wells, sampling points, and
sampling methodology, will be presented in subsequent work plans.

 

9.1 Areas of Interest

The Fluoroproducts FA is approximately 52 acres and located in the northwest section of
the Chambers Works manufacturing area (see Figure 9-1). This focus area is bounded by
the Delaware River to the west, the Basins FA to the north-northeast, and the TEL FA to
the southwest and includes Kinetic and Freon Roads.
Based on common processes, history, chemical use, and disposal practices, the
Fluoroproducts FA has been subdivided into the following two distinct areas: the former
Alcohol Plant and former Kinetic area (see Figure 9-1).

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9.2

A number of areas or features are pertinent to the Fluoroproducts FA history, as shown in
Figure 9-2. These include six SWMUs where significant investigative and/or remedial
measures are completed, so there is no need for a potential pathway analysis as part of
this PAR. The nine investigated/remediated SWMUs are as follows:

4 SWMU SA: Landfill I

SWMU 20: Ethyl Chloride Incinerator

SWMU 26: Freon Spent Catalyst Storage Area
SWMU 33: Manhattan Project Area

SWMU 34: Gypsum Disposal Area

SWMU 35: Freon Disposal Impoundment
SWMU 39-3: USTs

SWMU 55-4: Fill Deposition Area

SWMU 59: Disposal Area V

A summary of previous investigations for these SWMUs is discussed in Section 9.3.
These SWMUs have been previously investigated and an evaluation of available data
indicates that further evaluation of these areas is not required in the pathway analysis.

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Several additional historical features are present within the Alcohol Plant and Kinetic
area that are considered areas of interest (Figure 9-3).

History

The Fluoroproducts FA includes Plant 4, which was established by the DuPont Explosive
Department to manufacture picric acid. The first picric acid was produced in 1915 by
nitration of phenol and production of dimethylaniline (DMA) for conversion to tetryl.
Plant 4 became known as the “High Explosive Plant.” The plant was built in the
Deepwater Point area, mainly due to the natural fire barriers, proximity to Carneys Point
Works (and its transportation and process water supply structures), and room for
expansion.

In 1915, two still houses located near the riverfront were installed to extract benzene,
toluene, naphtha, and other hydrocarbons from coal-tar. Production of benzene, toluene,
xylene, naphthalene, solvent naphtha was increased in 1916 with the addition of a
cracking plant. The picric acid manufacturing was augmented in 1917 by a
supplementary process and equipment to make ammonium picrate, which was used in
American military explosives. Sulfur black dye was also manufactured in the High
Explosive Area when the Dye Works first began dye development.

In 1915, the Saltpeter Plant was built near the waterfront about midway between the
Explosive Plant and Salem Canal mouth. The plant refined crude nitrate by removing
impurities and providing high quality sodium nitrate to the powder plants.

 

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9.2.1

9.2.2

Former Alcohol Plant

The Alcohol Plant was located on the southern side of the Fluoroproducts FA. In the
early 1900s, the plant also included storage areas and the sodium sulfide house. The
Eastern Alcohol Corporation was formed in 1925 and was jointly owned by DuPont and
Kentucky Alcohol Co. (subsidiary of National Distilleries Corporation).

Construction of the Alcohol Plant began in 1925 and operations started a year later.
Production during the first five months of operations was nearly 3 million gallons of
alcohol. The basic process for manufacturing alcohol was to pump, via pipelines,
molasses transported by ship to large storage tanks. The molasses would then be diluted
and “cooked” as partial pasteurization. It was then fermented with yeast cultures to
produce beer. From beer, the alcohol was distilled. The initial plant included the
following buildings: fermenter house, still house, denaturing house, bonded warehouse,
drumming building, maintenance shop, change house, office, and six steel tanks each
capable of holding over 1 million gallons of molasses.

The by-product of carbon dioxide gas was purchased by Solid Carbonic Co. for making
dry ice starting in 1927. Under a land-lease agreement with DuPont, the Solid Carbonic
Co. built a plant adjacent to the Alcohol Fermentation building.

In 1931, a new building for the production of butyl alcohol, acetone, and isopropyl
alcohol by fermentation was completed. The process was discontinued in 1932. In 1933,
the Alcohol Plant started to produce its own antifreeze compound consisting of a blend of
alcohol and rust inhibitors called the “Five-Star Anti Freeze”. Distribution of the anti-
freeze was discontinued in 1948. Alcohol production during WWII ranged from 25.5 to
26.6 million gallons per year.

In 1953, fermentation was discontinued. The following year, one-third of the former
Alcohol Plant was leased to Pure Carbonic Division of Air Reduction Corporation, which
generated carbon dioxide gas from petroleum combustion.

Based on the 1917 plant layout map, one toluol tank storage area and a series of oil tanks
were present in the area near SWMU 33.

Former Kinetic Area

The former Kinetic area is located on the northern side of the Fluoroproducts FA. The
former Kinetic area was used for nitrating and sulfur black production as well as Freon
production. In 1930, Kinetic Chemicals, Inc., was formed and jointly owned by DuPont
and GM for the purpose of manufacturing Freon to be used as refrigerant. Freon research
began immediately in 1930 at Jackson Labs at the Dye Works Plant until a continuous
process was developed. At least six different Freon refrigerants were manufactured in the
Fluoroproducts FA, including Freon-11, Freon-12, Freon-113, Freon-114, Freon-22 (raw
product in “Teflon”), and Freon-21.

The basic chemical reaction involves bringing organic material together with
hydrofluoric acid (HF) in the presence of a catalyst (i.e., antimony chlorofluoride.
Common organics used in the basic chemical reaction include the following:

Q Carbon tetrachloride (CCl; F-11 and F-12)

 

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Q Chloroform (CHCl; F-21 and F-22)

Q Tetrachloroethene (PCE) a.k.a. perchloroethylene (F-113 and F-114)

The first plant built for Freon manufacturing was the Freon Building (K-1) and was
located in the northern portion of the focus area. By October 1931, a second
manufacturing unit was installed to meet demand. A hydrofluoric acid (HF) plant was
built to supply the raw material necessary for Freon production. Other major process
changes or historical significant events included the following:

Q By late 1932, other Freon products were being manufactured, including
“Freon-113” and “Freon-114” with a small amount of “Freon-11” being
produced.

Q From 1934 to 1935, PCE was substituted for hexachlorethane as the starting
material for Freon-114.

Q In 1936, the process was changed to improve Freon drying by substituting
alumnia gel for the sulfuric acid tower process.

O By 1941, “Freon-21 and “Freon-22” were added to the Kinetic product list.

QO In 1942, HCl by-product was recovered (it was previously discharged with trade
waste to the ditches).

QO In 1944, new plants for “Freon-12” and HF were completed, doubling the
capacity of the area.

Q During WWII, the demand for Freon increased sharply. A third manufacturing
unit was erected in a new building beside the first two units. In the 1950s, Kinetic
Chemicals was acquired entirely by DuPont.

QO In about 1953, DuPont started to ship Freon in pressurized tank cars and trucks. In

conjunction with new shipping procedures, nine 10,000 bulk storage tanks were
erected.

Q In 1955, DuPont stopped manufacturing zinc silicofluoride and “Freon-22” at the
site.

QO In 1956, DuPont celebrated the billionth pound of Freon products being produced.

Q In 1957, the organization name was changed from the Kinetic area to the Freon
area.

A second ethyl chloride plant (Plant 2) was constructed in approximately 1937 and was
located adjacent to the Kinetic plant on the site of the old High Explosive Plant buildings.
This plant recovered hydrochloric acid that was formerly discharged to the process waste
ditch as a waste product from the Freon production in the Kinetic area. Approximately
0.5 million pounds of HCl were condensed from coolers.

Ethyl chloride was made by the aluminum chloride-catalyzed reaction of anhydrous
hydrogen chloride (HC1) with ethylene. Waste from this process consisted of waste gas
(containing HCl, ethyelene, and ethyl chloride) and liquid waste (contained HCI,
aluminum chloride, ethylene chloride, and high boiling organic impurities).

 

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A by-product of the process was 50,000 to 95,000 pounds of salt cake. Most of the salt
cake (>60%) was sold. All ethyl chloride production was suspended in 1945 and resumed
in 1949. By 1955, all of the ethyl chloride production at the site was being made in the
“Kinetic” area.

Various tanks were observed starting in the 1939 plant layout map in the eastern section
of the Kinetic area near the site perimeter. The original tanks were for the ethyl chloride
operations and the buildings associated with the tanks indicated that nitrating was being
completed in this area. Later, more Kinetic buildings and associated tank areas were built
in this area. Another tank handling area was present in the northwest corner of the Kinetic
area.

 

9.2.3 Current Operations

Freon production ceased in the early 1980s. Current production in this focus area
involves three classes of chemicals: propellants, electronic gases, and refrigerants.
Current operations include the manufacturing of three products: HFC-125, HFC-227ea
and PFC-116. The compounds HFC-125 and HFC-227ea are produced in the same
building, K-39 (FE™ Products), and PFC-116 is produced in Building K-40 (Zyron®
Products). Additional products HFC-23, Zyron® 8020, and HFC-236 are purified or
transloaded in the area. DuPont Fluoroproducts also produces the following classes of
chemicals:

QO Electronic gases (Zyron® 116, Zyron® 23, and Zyron® 8020)

O Refrigerants SUVA® 95 and Freon 23

QO Fire Extinguishants FE-36™, FE-13™, and FE-227™
The area continues to use hydrofluoric (HF) acid as a basic building block (raw material)
in chemical processes. Wastewater is discharged into collection tanks and pumped to the
WWITP via overhead pipeline.

9.3. Previous Investigations

The SWMUs identified as part of the RFI within the Fluoroproducts FA include the
following:

Q) SWMU SA: Landfill I (see Section 12 for details about the SWMU 5 previous

investigation)

Q SWMU 20: Ethyl Chloride Incinerator

& SWMU 26: Freon Spent Catalyst Storage Area

Q SWMU 33: Manhattan Project Area

O SWMU 34: Gypsum Disposal Area

GQ SWMU 35: Freon Disposal Impoundment

OQ SWMU 39-3: USTs

2 SWMU 55-4: Fill Deposition Area

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@ Q SWMU 59: Disposal Area V

More complete descriptions of these SWMUs were previously submitted in January
2002, in the report titled Chambers Works FACT Sheets (DuPont, 2002).

9.3.1. SWMU 20 (Ethyl Chloride Incinerator)

SWMU 20 is 2.4 acres and is located in the northern portion of this focus area (see
Figure 9-2). The two-unit, ethyl chloride incinerator was used to burn waste products
associated with ethyl chloride operation. The incinerator had two water scrubbers in
series that prevented particulate release to the air. In addition, 12 emergency interlocks
prevented accidental releases. This unit began operation in 1971, operated under interim
status in Building 1126, and was monitored under RCRA Part B and NJDEP Air Permit
#PC42570/65076/076. The only waste stream that entered SWMU 20 was comprised of
ethyl chloride, ethylene, aluminum chloride, hydrochloric acid, and various hydrocarbons
The year that operations ceased is unknown. Currently, SWMU 20 is considered clean
closed under RCRA according to EPA correspondence. Based on this determination, no
further investigation of this SWMU is necessary.

9.3.2 SWMU 26 (Freon Spent Catalyst Storage Area)

SWMU 26 is a storage area that contained a 6,000-gallon lined railroad tank car that was
used until 1942 to store spent antimony pentachloride. SWMU 26 is located in the former
Kinetic area along Ethyl Chloride Street. DuPont submitted a RCRA closure plan for

© SWMU 26 in 1984 and investigated this SWMU as part of the Phase III RFI. Closure
certification reports were approved by NJDEP, and a postclosure groundwater monitoring
program is in effect. The RCRA Unit Post Closure Monitoring Program began for this
SWMU in July 2003 in accordance with the NIPDES-DGW permit No. NJ0083429. A
downgradient well (G14-M01B) is monitored annually for SWMU-related constituents
and reported in the NJPDES-DGW Semiannual Status Report.

9.3.3. SWMU 33 (Manhattan Project Area)

SWMU 33 is located in the southeastern portion of the Fluoroproducts FA andin the _
northern part of the General Stores area of the Aramids FA (see Figure 9-2). This SWMU
is an area that was used by the Manhattan Engineering District (MED) and the Atomic
Energy Commission (AEC) from the 1940s through 1960s for radiological activities.
SWMU 33 is being investigated as part of the Department of Energy (DOE) FUSRAP
program (created to address remaining radiological contamination). The two areas under
investigation are located in the Fluoroproducts FA — Former Building 845 Area
(including the wooden trough and ditch section that borders the northeast and east portion
of this area) and the F Parking Corral (the site of former Building 708). Several
radiological surveys, as well as a remediation of B Ditch (SWMU 564A), have been
completed for this area.

Beginning in 1942, DuPont entered into an agreement with the U.S. Army Corps of
Engineers (AOCE) to conduct manufacturing operations at two locations: the Blue
@ Products area and the East area. The East area is discussed as part of the Miscellaneous

 

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9.3.4

9.3.5

FA (see Section 19). The Blue Products Area was located adjacent to the Alcohol Plant at
the southeast border. Beginning in April 1943, the Blue Products operations occupied an
idle building known as the Glycerine Building (formerly used by the Alcohol Plant)
while four small operating buildings in the area were completed. Production activities in
the Blue Products area continued until February 1945. By June 1947, operations in the
Blue Products Area had ended, and most of the buildings in the area were rapidly
dismantled. By February 1948, dismantlement was complete.

A report was prepared describing the ACOE FUSRAP activities (Roy F. Weston, 2003).
Key conclusions from the report are as follows:

QO Building 845: Exposure from the residual radiological contamination in the
building was substantially below the DOE protection guideline of 100 mrems/year
— maximum exposure for DuPont employees was 9 mrem/year, and residual
radioactive material remaining in the building did not pose a potential threat of
future exposure.

Q Parking Lot F: Low-level uranium contamination was detected in the soil.

The ACOE removed nine drums of mixed waste and approximately 40 bags of PPE in
1998. (The PPE was the result of DOE investigation efforts.) In 1999, DuPont completed
building demolition. The ACOE investigation of this SWMU is ongoing, and reports
describing these investigations are currently being developed by ACOE.

SWMU 34 (Gypsum Disposal Area)

SWMU 34 is 4.3 acres and is located in the western portion of the focus area (see

Figure 9-2). This SWMU consists of two areas that were used for the disposal of calcium
sulfate (gypsum), a by-product associated with the hydrogen fluoride production process.
The SWMU operated prior to 1950 (exact date unknown) to 1962 (due to the installation
of the ditch system). The two areas in this SWMU were investigated as part of the Phase
II RFI.

Key conclusions in the RFI were as follows:

Q No further soil sampling was necessary because all soil sample constituent
concentrations were below the NRDCSCC.

Q Soil in this SWMU could be a source of groundwater contamination for antimony
and lead based on a conservative comparison of SPLP concentrations to GWIIA
criteria. This comparison does not account for attenuation and dilution.

Monitoring wells immediately downgradient of SWMU 33 can also be samples for these
compounds to assess whether these soils are a source of groundwater contamination.

SWMU 35 (Freon Disposal Impoundment)

SWMU 35 is located near the central portion of this focus area in the former Alcohol
Plant area (see Figure 9-2). In May 1993, DuPont requested that the area identified as
SWMU 35 be removed from the HSWA permit renewal application (submitted

May 7, 1993). In a December 6, 1993, letter to DuPont, the EPA requested further
documentation (e.g., personnel interviews, historical information) to support the removal

 

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